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                                                                   7   Debtor in Possession

                                                                   8
                                                                                                        UNITED STATES BANKRUPTCY COURT
                                                                   9
                                                                                                         CENTRAL DISTRICT OF CALIFORNIA
                                                                  10
                                                                                                                    NORTHERN DIVISION
                                                                  11
P ACHULSKI S TANG Z IEHL & J ONES LLP




                                                                  12   In re:                                                         Case No.: 9:16-bk-11912-PC
                                        LOS ANGELES, CALIFORNIA




                                                                  13   CHANNEL TECHNOLOGIES GROUP,
                                           ATTORNEYS AT LAW




                                                                                                                                      Chapter 11
                                                                       LLC, 1
                                                                  14                      Debtor.

                                                                  15                                                                  DEBTOR’S PROPOSED CHAPTER 11
                                                                                                                                      LIQUIDATING PLAN
                                                                  16

                                                                  17

                                                                  18

                                                                  19            THIS PLAN HAS NOT YET BEEN APPROVED BY THE BANKRUPTCY COURT

                                                                  20       This proposed Plan is not a solicitation of acceptance or rejection of the Plan. Acceptances or rejections may not
                                                                           be solicited until the Bankruptcy Court has approved the related Disclosure Statement under Bankruptcy Code
                                                                  21         §1125. The proposed Disclosure Statement is being submitted separately for approval, and has not yet been
                                                                                                                   approved by the Bankruptcy Court.
                                                                  22

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                                                                       1
                                                                  28    The last four digits of the Debtor’s Tax Identification Number are: 0460. The Debtor’s mailing address is: 8714 East
                                                                       Sandalwood Dr., Scottsdale, AZ 85250.

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                                                                   1           Channel Technologies Group, LLC, the above-captioned debtor and debtor in possession (the

                                                                   2   “Debtor” or “CTG”), through its undersigned counsel, proposes the following Proposed Chapter 11

                                                                   3   Liquidating Plan (along with any amendments, supplements and exhibits hereto, collectively, the

                                                                   4   “Plan”) pursuant to section 1121(a) of the Bankruptcy Code for resolution of all Claims against and

                                                                   5   interests in the Debtor and its Estate.

                                                                   6           The Disclosure Statement, which will accompany the Plan, discusses the Debtor’s history,

                                                                   7   business, Chapter 11 Case, and estimates of the distributions of the Debtor’s remaining assets to

                                                                   8   creditors, and contains a summary and discussion of the Plan. Holders of Claims are encouraged to

                                                                   9   read the Disclosure Statement before voting to accept or reject the Plan.

                                                                  10           Following solicitation of acceptances for the Plan, the Debtor will seek the Bankruptcy

                                                                  11   Court’s Confirmation of the Plan. No solicitation materials other than the Disclosure Statement
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                                                                  12   and any schedules, exhibits or other documents attached thereto or referenced therein have been
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                                                                  13   authorized by the Debtor or the Bankruptcy Court for use in soliciting acceptances or rejections of
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                                                                  14   the Plan.

                                                                  15   I.      DEFINITIONS AND RULES OF CONSTRUCTION
                                                                  16           A.       Defined Terms.

                                                                  17           As used herein, the following t e r m s have the respective meanings specified below (such

                                                                  18   meanings to be equally applicable to both the singular and plural, and masculine and feminine

                                                                  19   forms of the terms defined):

                                                                  20           1.       “Administrative Expense” means any cost or expense of administration of the

                                                                  21   Chapter 11 Case under sections 503(b) and 507(a)(1) of the Bankruptcy Code, including, without

                                                                  22   limitation, any actual and necessary post-petition expenses of preserving the Estate, any actual and

                                                                  23   necessary post-petition expenses of administering and liquidating the Estate, all compensation or

                                                                  24   reimbursement of expenses to the extent allowed by the Bankruptcy Court under sections 330, 331,

                                                                  25   363 or 503 of the Bankruptcy Code, and any fees or charges assessed against the Estate under

                                                                  26   section 1930 of title 28 of the United States Code.

                                                                  27           2.       “Allowed” means with respect to any Claim or Equity Interest: (a) a Claim or Equity

                                                                  28   Interest that is evidenced by a proof of Claim or proof of Equity Interest, as applicable, filed by the

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                                                                   1   applicable Claims Bar Date (or for which Claim or Equity Interest under the Plan, the Bankruptcy

                                                                   2   Code, or a Final Order of the Court, a proof of Claim is not required to be filed); (b) a Claim or

                                                                   3   Equity Interest that is listed in the Schedules, but is not listed as contingent, unliquidated, or

                                                                   4   disputed, and for which no proof of Claim or proof of Equity Interest, as applicable, has been timely

                                                                   5   filed; or (c) a Claim or Equity Interest allowed pursuant to the Plan or a Final Order of the Court;

                                                                   6   provided that with respect to a Claim or Equity Interest described in clauses (a) and (b) above, such

                                                                   7   Claim or Equity Interest, as applicable, shall be considered Allowed only if and to the extent that

                                                                   8   with respect to such Claim or Equity Interest no objection to the allowance thereof has been

                                                                   9   interposed within the applicable period of time fixed by the Plan, the Bankruptcy Code, the

                                                                  10   Bankruptcy Rules, or the Bankruptcy Court, or such an objection is so interposed and the Claim or

                                                                  11   Equity Interest, as applicable, shall have been Allowed for voting purposes only by a Final Order.
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                                                                  12   Any Claim or Equity Interest that has been or is hereafter listed in the Schedules as contingent,
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                                                                  13   unliquidated, or disputed, and for which no proof of Claim or proof of Equity Interest is or has been
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                                                                  14   timely filed shall be expunged without further action by the Debtor and without further notice to any

                                                                  15   party or action, approval, or order of the Bankruptcy Court. Any portion of a Claim that is satisfied

                                                                  16   or released during the Chapter 11 Case is not an Allowed Claim.

                                                                  17           3.       “Allowed Class ____ Claim” means an Allowed Claim in the Class specified.

                                                                  18           4.       “Assets” means all assets of the Debtor’s Estate including “property of the estate” as

                                                                  19   described in section 541 of the Bankruptcy Code and shall, without limitation, include Cash, Estate

                                                                  20   Causes of Action, any and all claims and causes of action that may be asserted by the Debtor against

                                                                  21   any third party or third parties, securities, proceeds of insurance and insurance policies, all rights and

                                                                  22   interests, all real and personal property, and all files, books and records of the Debtor’ Estate.

                                                                  23           5.       “Available Cash” means the Cash in the Liquidating Trust that is not otherwise

                                                                  24   designated by the Liquidating Trustee as Cash to be used to satisfy Allowed Administrative

                                                                  25   Expenses, Allowed Priority Tax Claims, Allowed Secured Claims, Allowed Other Priority Claims,

                                                                  26   and expenses of the Liquidating Trust or otherwise subject to a reserve established by the

                                                                  27   Liquidating Trustee.

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                                                                   1           6.       “Avoidance Action” means any claim or right under the following: sections 544, 545,

                                                                   2   547, 548, 549, 550, 551 and 553(b) of the Bankruptcy Code; all prevailing fraudulent conveyance

                                                                   3   and fraudulent transfer laws; all non-bankruptcy laws vesting in creditors’ rights to avoid, rescind, or

                                                                   4   recover on account of transfers, including, but not limited to, claims relating to illegal dividends; all

                                                                   5   preference laws; the Uniform Fraudulent Transfer Act; and California Civil Code sections 3439 and

                                                                   6   3440, et seq.

                                                                   7           7.       “Avoidance Action Payment Claim” means a Claim based upon or arising from an

                                                                   8   entity’s payment to the Debtor or the Liquidating Trustee of a claim asserted against the entity

                                                                   9   pursuant to an Avoidance Action. Any Avoidance Action Payment Claim shall be treated hereunder

                                                                  10   as a Class 3 Claim.

                                                                  11           8.       “Bankruptcy Code” means title 11 of the United States Code, 11 U.S.C. §§ 101-1532,
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                                                                  12   as amended.
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                                                                  13           9.       “Bankruptcy Court” means the United States Bankruptcy Court for the Central
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                                                                  14   District of California, Northern Division or, in the event such court ceases to exercise jurisdiction

                                                                  15   over the Chapter 11 Case, such other court that exercises jurisdiction over the Chapter 11 Case.

                                                                  16           10.      “Bankruptcy Rules” means, collectively, (i) the Federal Rules of Bankruptcy

                                                                  17   Procedure, as amended from time to time, as applicable to the Chapter 11 Case, and (ii) the Local

                                                                  18   Bankruptcy Rules applicable to cases pending before the Bankruptcy Court, as now in effect or

                                                                  19   hereafter amended.

                                                                  20           11.      “Bar Date Order” means the Order (A) Establishing Procedures and Deadlines for

                                                                  21   Filing (i) Proofs of Claim; (ii) Requests for Payment of Administrative Expense Pursuant to 11

                                                                  22   U.S.C. § 503 For the Period October 14, 2016 Through April 30, 2017; (B) Approving Manner of

                                                                  23   Notice of Bar Dates; and (C) Granting Related Relief entered by the Bankruptcy Court on May 9,

                                                                  24   2017 (Docket No.311).

                                                                  25           12.      “Beneficiaries” means the Holders of Claims who are the beneficiaries of the

                                                                  26   Liquidating Trust.

                                                                  27           13.      “Blue Wolf Capital Fund” means Blue Wolf Capital Fund II, L.P. and/or its successor

                                                                  28   or assignee.

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                                                                   1           14.      “Blue Wolf Secured Claims” means the Secured Claims of Blue Wolf Capital Fund.

                                                                   2           15.      “Business Day” means any day which is not a Saturday, a Sunday, or a “legal

                                                                   3   holiday” as defined in Bankruptcy Rule 9006(a).

                                                                   4           16.      “Cash” means cash or cash equivalents.

                                                                   5           17.      “Case Closing Date” means the date on which the Bankruptcy Court enters a final

                                                                   6   decree closing the Chapter 11 Case, in accordance with section 350 of the Bankruptcy Code.

                                                                   7           18.      “Chapter 11 Case” means the case under chapter 11 of the Bankruptcy Code,

                                                                   8   commenced by the Debtor on the Petition Date in the Bankruptcy Court, styled “In re Channel

                                                                   9   Technologies Group, LLC,” assigned Case No. 9:16-11912-PC.

                                                                  10           19.      “Claim” means (a) any right to payment from the Debtor’ Estate, whether or not such

                                                                  11   right is reduced to judgment, liquidated, unliquidated, fixed, contingent, matured, unmatured,
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                                                                  12   disputed, undisputed, legal, equitable, secured, or unsecured, or (b) any right to an equitable remedy
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                                                                  13   for breach of performance if such breach gives rise to a right of payment from the Debtor’ Estate,
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                                                                  14   whether or not such right to an equitable remedy is reduced to judgment, fixed, contingent, matured,

                                                                  15   unmatured, disputed, undisputed, secured, or unsecured.

                                                                  16           20.      “Claims Bar Date” means July 14, 2017, which is the general deadline set pursuant to

                                                                  17   the Bar Date Order for filing proofs of claim for any Claims against the Debtor that arose prior to the

                                                                  18   Petition Date.

                                                                  19           21.      “Class” means one of the Classes of Claims or Classes of Equity Interests designated

                                                                  20   in the Plan.

                                                                  21           22.      “Class 3 Trust Interest” means a proportional beneficial interest in the Liquidating

                                                                  22   Trust to be provided to each holder of an Allowed Class 3 Claim pursuant to Section II.C of the Plan

                                                                  23   and the Liquidating Trust Agreement. The Class 3 Trust Interests shall be uncertificated and non-

                                                                  24   transferable, except by will, intestate succession, or operation of law, or as otherwise provided in the

                                                                  25   Liquidating Trust Agreement.

                                                                  26           23.      “Committee” means the Official Committee of Unsecured Claims appointed in the

                                                                  27   Debtor’s Chapter 11 Case, as it may be reconstituted from time to time.

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                                                                   1            24.     “Conditions Precedent” shall have the meaning ascribed to such term in Section VIII.

                                                                   2   A of the Plan.

                                                                   3            25.     “Confirmation” means the entry of the Order by the Bankruptcy Court confirming the

                                                                   4   Plan pursuant to section 1129 of the Bankruptcy Code.

                                                                   5            26.     “Confirmation Date” means the date on which the Clerk of the Bankruptcy Court

                                                                   6   enters the Confirmation Order on its docket.

                                                                   7            27.     “Confirmation Hearing” means the hearing before the Bankruptcy Court pursuant to

                                                                   8   section 1129 of the Bankruptcy Code to consider confirmation of the Plan.

                                                                   9            28.     “Confirmation Order” means the order of the Bankruptcy Court confirming the Plan

                                                                  10   in accordance with the provisions of chapter 11 of the Bankruptcy Code.

                                                                  11            29.     “DIP Financing Claims” means any Secured Claims and/or Administrative Expenses
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                                                                  12   of the DIP Lender against the Debtor under or evidenced by the DIP Financing Order and DIP Loan
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                                                                  13   Documents.
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                                                                  14            30.     “DIP Financing Order” means the Final Order Pursuant to Sections 105, 361, 362,

                                                                  15   363 and 364 of the Bankruptcy Code and Bankruptcy Rules 2002, 4001 and 9014: (1) Authorizing

                                                                  16   Postpetition Financing, (2) Granting Liens and Providing Superpriority Administrative Expense

                                                                  17   Priority, (3) Authorizing Use of Cash Collateral and Providing for Adequate Protection, and (4)

                                                                  18   Modifying the Automatic Stay [Docket No. 110] entered by the Court in the Chapter 11 Case.

                                                                  19            31.     “DIP Lender” means Blue Wolf Capital Fund II, L.P.

                                                                  20            32.     “DIP Loan Documents” has the meaning ascribed to this term in the DIP Financing

                                                                  21   Order.

                                                                  22            33.     “Disallowed Claim” means a Claim or any portion thereof that (i) has been

                                                                  23   disallowed by agreement with the creditor, (ii) has been disallowed by Final Order, (iii) is listed in

                                                                  24   the Schedules in an unknown amount, as zero, as contingent, disputed, or unliquidated, or is not

                                                                  25   listed in the Schedules, and as to which no proof of Claim or Administrative Expense has been Filed,

                                                                  26   or (iv) has been withdrawn by the applicable creditor.

                                                                  27            34.     “Disclosure Statement” means that certain document entitled “Disclosure Statement

                                                                  28   in Support of the Debtor’s Proposed Chapter 11 Liquidating Plan” filed in the Chapter 11 Case,

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                                                                   1   including the exhibits attached thereto, either in its present form or as it may be amended, modified

                                                                   2   or supplemented from time to time.

                                                                   3           35.      “Disputed Claim” means any Claim (i) which is listed in any of the Schedules of the

                                                                   4   Debtor as unliquidated, disputed, contingent, and/or unknown and for which no proof of Claim has

                                                                   5   been filed; (ii) as to which a proof of Claim has been filed and the dollar amount of such Claim is

                                                                   6   not specified in a fixed amount; or (iii) as to which the Debtor or any other party in interest has

                                                                   7   interposed a timely objection or request for estimation in accordance with the Bankruptcy Code, the

                                                                   8   Bankruptcy Rules, the Plan and/or any order of the Bankruptcy Court, which objection or request for

                                                                   9   estimation has not been withdrawn or determined by a Final Order.

                                                                  10           36.      “Disputed Claims Reserve” means the Cash to be set aside for, and in an amount

                                                                  11   sufficient to pay the required Distribution under the Plan to, all Disputed Claims which have not
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                                                                  12   been finally adjudicated as of the Effective Date and which may become Allowed Claims after the
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                                                                  13   Effective Date. The Disputed Claims Reserve may be established as a separate account, or in an
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                                                                  14   account containing other funds, in the Liquidating Trustee’s discretion.

                                                                  15           37.      “Distribution(s)” means any transfer under the Plan of Cash or other property or

                                                                  16   instruments to a Holder of an Allowed Claim.

                                                                  17           38.      “Effective Date” means the first day when all the Conditions Precedent have been

                                                                  18   satisfied or waived pursuant to Section VIII of the Plan.

                                                                  19           39.      “Equity Interests” means any equity interest in the Debtor, including, without

                                                                  20   limitation, the membership interest(s) in the Debtor held directly or indirectly by BW Piezo Holding,

                                                                  21   LLC.

                                                                  22           40.      “Estate” shall mean the estate created by section 541(a) of the Bankruptcy Code upon

                                                                  23   the Petition Date.

                                                                  24           41.      “Estate Cause of Action” shall mean any and all manner of causes of action, claims,

                                                                  25   obligations, suits, debts, judgments, demands, rights of offset or recoupment, damages (actual,

                                                                  26   compensatory or punitive), counterclaims or affirmative defenses, whatsoever, whether in law or in

                                                                  27   equity of the Debtor and Estate, including, but not limited to, Avoidance Actions and any and all

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                                                                   1   claims (if any) against former managers, officers, directors, employees and/or agents of the Debtor

                                                                   2   (except as such claims may be subject to exculpation under Section X.A. of the Plan)

                                                                   3           42.      “Exculpated Parties” means the following: (a) CR3, LLC, (b) David Tiffany, (c)

                                                                   4   Pachulski Stang Ziehl & Jones, LLP, (d) Lockheed Martin Corporation (solely in its capacity as a

                                                                   5   Committee member), (e) Advanced GeoEnvironmental, Inc. (solely in its capacity as a Committee

                                                                   6   member), and (f) Winthrop Couchot Golubow Hollander LLP.

                                                                   7           43.      “File,” “Filed,” “Files,” or “Filing” means any document(s) properly and timely filed

                                                                   8   with the Bankruptcy Court in the Chapter 11 Case, as reflected on the official docket of the

                                                                   9   Bankruptcy Court for the Chapter 11 Case, and served on parties, as and to the extent that such filing

                                                                  10   and service are required pursuant to the Bankruptcy Code, Bankruptcy Rules and/or order of the

                                                                  11   Bankruptcy Court.
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                                                                  12           44.      “Final Order” means an order or judgment of the Bankruptcy Court or other
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                                                                  13   applicable court as to which the time to appeal, petition for certiorari, or move for reargument or
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                                                                  14   rehearing has expired and as to which no appeal, petition for certiorari, or other proceedings for

                                                                  15   reargument or rehearing shall then be pending; or as to which any right to appeal, reargue, rehear, or

                                                                  16   petition for certiorari shall have been waived in writing in form and substance satisfactory to the

                                                                  17   Debtor prior to the Effective Date, or the Liquidating Trustee after the Effective Date, respectively,

                                                                  18   or, in the event that an appeal, writ of certiorari, reargument or rehearing thereof has been sought,

                                                                  19   such order or judgment of the Bankruptcy Court or other applicable court shall have been affirmed

                                                                  20   by the highest court to which such order or judgment was appealed or from which reargument or

                                                                  21   rehearing was sought, or certiorari shall have been denied, and the time to take any further appeal,

                                                                  22   petition for certiorari or move for reargument or rehearing shall have expired.

                                                                  23           45.      “First Administrative Expenses Bar Date” means July 14, 2017, which is the deadline

                                                                  24   set pursuant to the Bar Date Order for filing requests for Administrative Expenses arising between

                                                                  25   the Petition Date and April 30, 2017.

                                                                  26           46.      “General Unsecured Claim” means any Claim that is not an Administrative Expense,

                                                                  27   Priority Tax Claim, a Claim classified in Class 1 or 2, or an Equity Interest in the Debtor. General

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                                                                   1   Unsecured Claims include, without limitation, unsecured Claims arising from the rejection of

                                                                   2   executory contracts and unexpired leases.

                                                                   3           47.      “Holder” means the owner of a Claim or Equity Interest.

                                                                   4           48.      “Impaired” has the meaning set forth in § 1124 of the Bankruptcy Code.

                                                                   5           49.      “Liquidating Trust” means the trust created pursuant to the Plan, Confirmation Order,

                                                                   6   and the Liquidating Trust Agreement, and created for the benefit of Holders of all Allowed Claims.

                                                                   7   Except as otherwise expressly provided in the Plan, all of the Assets of the Debtor will be transferred

                                                                   8   to the Liquidating Trust on the Effective Date of the Plan. The Liquidating Trust will continue and

                                                                   9   conclude the liquidation of such assets and the Debtor, including the resolution of all Estate Causes

                                                                  10   of Action, and make Distributions to the Holders of Allowed Claims and pay the expenses of the

                                                                  11   Liquidating Trust, all as provided in the Plan.
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                                                                  12           50.      “Liquidating Trust Agreement” means that certain liquidating trust agreement by and
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                                                                  13   between the Debtor and the Liquidating Trustee to be entered into pursuant to the Plan and the
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                                                                  14   Confirmation Order, as such may be amended from time to time.

                                                                  15           51.      “Liquidating Trust Assets” means any and all Assets of the Debtor and Estate,

                                                                  16   including Cash, Estate Causes of Action and other personal and real property, all of which shall be

                                                                  17   transferred or assigned to the Liquidating Trust on the Effective Date of the Plan, free and clear of

                                                                  18   any liens or claims that might otherwise have existed in favor of any party.

                                                                  19           52.      “Liquidating Trustee” means Richard J. Feferman, and any successor trustee

                                                                  20   appointed pursuant to the Liquidating Trust Agreement, that has the powers and responsibilities set

                                                                  21   forth in the Plan, the Confirmation Order and the Liquidating Trust Agreement and in such capacity

                                                                  22   shall act as a liquidator of the Debtor and its assets for the benefit of Holders of Allowed Claims.

                                                                  23   Whenever the Liquidating Trustee is referred to herein, all such references are qualified by the

                                                                  24   Liquidating Trustee’s powers, rights and obligations as set forth in the Liquidating Trust Agreement.

                                                                  25           53.      “Liquidating Trustee Claim Objection Deadline” shall mean the first Business Day to

                                                                  26   occur after 120 days after the Effective Date, provided, however, that such date may be extended by

                                                                  27   (i) order of the Bankruptcy Court to a later date upon motion brought by the Liquidating Trustee at

                                                                  28   any time before the occurrence thereof, or (ii) in the case of any Claim, by agreement between the

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                                                                   1   Holder of the Claim and the Liquidating Trustee. Any such later date shall then become the

                                                                   2   Liquidating Trustee Claim Objection Deadline.

                                                                   3           54.      “Other Priority Claim” means any Claim accorded priority in right of payment under

                                                                   4   section 507(a) of the Bankruptcy Code, other than a Priority Tax Claim or an Administrative

                                                                   5   Expense.

                                                                   6           55.      “Other Secured Claim” means any Secured Claim other than a Secured Claim of a

                                                                   7   taxing authority or any Blue Wolf Secured Claims.

                                                                   8           56.      “Person” means any individual, corporation general partnership, limited partnership,

                                                                   9   association, joint stock company, joint venture, estate, trust, government or any political subdivision,

                                                                  10   governmental unit, official committee appointed by the Office of the United States Trustee,

                                                                  11   unofficial committee of creditors, or other entity.
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                                                                  12           57.      “Petition Date” means October 14, 2016, the date on which the Debtor filed its
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                                                                  13   voluntary petition commencing the Chapter 11 Case.
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                                                                  14           58.      “Plan” means this chapter 11 plan of liquidation, including all exhibits hereto, either

                                                                  15   in their present form or as they may be altered, amended, or modified from time to time.

                                                                  16           59.      “Post-Effective Date Notice Party” has the meaning set forth in Section XI.N of this

                                                                  17   Plan.

                                                                  18           60.      “Post-Effective Date Plan Expenses” means all voluntary and involuntary costs,

                                                                  19   expenses, charges, obligations, or liabilities of any kind or nature, whether matured, unmatured,

                                                                  20   non-contingent, contingent, liquidated, or unliquidated (collectively, “Expenses”) incurred after the

                                                                  21   Effective Date related to the implementation of this Plan, including, but not limited to: (a) the

                                                                  22   Expenses associated with administering this Plan, including any taxes assessed against the

                                                                  23   Liquidating Trust Assets; (b) all fees of the Office of the United States Trustee; (c) the Expenses

                                                                  24   associated with making the Distributions required by this Plan; (d) any Expenses associated with

                                                                  25   preparing and filing tax returns and paying taxes; (e) the Expenses of independent contractors and

                                                                  26   professionals providing services to the Liquidating Trustee; and (f) the fees of the Liquidating

                                                                  27   Trustee, and the reimbursement of expenses, to which the Liquidating Trustee is entitled under the

                                                                  28   Liquidating Trust Agreement.

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                                                                   1           61.      “Priority Tax Claim” means a Claim of a governmental unit of the kind specified in

                                                                   2   section 507(a)(8) of the Bankruptcy Code.

                                                                   3           62.      “Pro Rata,” “Pro Rata Share,” and “Pro Rata Basis” means, at any time, the

                                                                   4   proportion that the face amount of a Claim in a particular Class bears to the aggregate face amount

                                                                   5   of all Claims (including Disputed Claims, but excluding disallowed Claims) in such Class; and “face

                                                                   6   amount,” as used herein, means (a) when used in reference to a Disputed Claim, the full stated

                                                                   7   liquidated amount claimed by the Holder of the Claim in any proof of Claim timely filed with the

                                                                   8   Bankruptcy Court or otherwise deemed timely filed by any Final Order of the Bankruptcy Court or

                                                                   9   other applicably bankruptcy law; and (b) when used in reference to an Allowed Claim, the allowed

                                                                  10   amount of such Claim.

                                                                  11           63.      “Professional Person” means, for purposes of this Plan, any person (a) employed in
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                                                                  12   accordance with an order of the Bankruptcy Court under sections 327, 363 or 1103 of the
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                                                                  13   Bankruptcy Code and to be compensated for services under sections 327, 328, 329, 330, 331 and 504
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                                                                  14   of the Bankruptcy Code, or (b) for which compensation or reimbursement is requested under section

                                                                  15   503(b)(2)-(b)(6) of the Bankruptcy Code.

                                                                  16           64.      “Rejection Damage Claim” means a Claim for any obligations or damages arising

                                                                  17   under an unexpired real-property or personal-property lease or executory contract that the Estate

                                                                  18   rejects under Bankruptcy Code section 365 or pursuant to the terms of this Plan.

                                                                  19           65.      “Released Parties” means the following: (a) CR3, LLC, (b) David Tiffany, and (c)

                                                                  20   Pachulski Stang Ziehl & Jones, LLP.

                                                                  21           66.      “Schedules” means the schedules of assets and liabilities, list of equity security

                                                                  22   holders, and statement of financial affairs filed by the Debtor as required by section 521(a)(l) of the

                                                                  23   Bankruptcy Code, Bankruptcy Rules 1007(a)(l) and(3) and (b)(l), and Official Bankruptcy Form

                                                                  24   Nos. 6 and 7, as amended from time to time.

                                                                  25           67.      “Second Administrative Expenses Bar Date” has the meaning ascribed to this term in

                                                                  26   Section II.B.3.b(ii) of the Plan.

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                                                                   1           68.       “Secured Claim” means a Claim against the Debtor to the extent of the value, as

                                                                   2   determined by the Bankruptcy Court pursuant to section 506(a) of the Bankruptcy Code, of any

                                                                   3   interest in property of the Debtor’s Estate securing such Claim.

                                                                   4           69.       “Voting Deadline” means 5:00 p.m. (Pacific Time) on the date established by order of

                                                                   5   the Bankruptcy Court for receipt of ballots voting to accept or reject the Plan.

                                                                   6           B.        Other Terms.

                                                                   7           The words “herein,” “hereof,” “hereto,” “hereunder,” and others of similar import refer to the

                                                                   8   Plan as a whole and not to any particular section, subsection, or clause contained in the Plan. A term

                                                                   9   used herein that is not defined herein shall have the meaning ascribed to that term, if any, in the

                                                                  10   Bankruptcy Code or Bankruptcy Rules and shall be construed in accordance with the rules of

                                                                  11   construction thereunder. The definition given to any term or provision in this Plan supersedes any
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                                                                  12   different meaning that may be given to that term or provision in the Disclosure Statement.
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                                                                  13   Whenever it is appropriate from the context, each term, whether stated in the singular or the plural,
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                                                                  14   includes both the singular and the plural. Each pronoun stated in the masculine, feminine or neuter

                                                                  15   includes each of the masculine, feminine and neuter. Any reference to an exhibit, schedule,

                                                                  16   instrument or other document means such exhibit, schedule, instrument or other document as it has

                                                                  17   been, or may be, amended, modified, restated or supplemented as of the Confirmation Date, and any

                                                                  18   such exhibit, schedule, instrument or other document shall be deemed to be included in this Plan,

                                                                  19   regardless of when it is filed.

                                                                  20           C.        Computation of Time.

                                                                  21           In computing any period of time prescribed or allowed by the Plan, unless otherwise

                                                                  22   expressly provided, the provisions of Bankruptcy Rule 9006(a) shall apply.

                                                                  23           D.        Exhibits.

                                                                  24           Any and all exhibits to the Plan are incorporated into and are a part of the Plan as if set forth

                                                                  25   in full herein.

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                                                                   1   II.     CLASSIFICATION AND TREATMENT OF CLAIMS AND EQUITY INTERESTS

                                                                   2           A.       Summary.

                                                                   3           The chart below summarizes the Classes of Claims and Equity Interests for all purposes,

                                                                   4   including voting, confirmation, and distribution pursuant to the Plan:

                                                                   5

                                                                   6   CLASS                                                    STATUS

                                                                   7   Class 1: Other Priority Claims                           Unimpaired - not entitled to vote

                                                                   8   Class 2: Secured Claims                                  Unimpaired - not entitled to vote

                                                                   9   Class 3: General Unsecured Claims                        Impaired - entitled to vote

                                                                  10   Class 4: Equity Interests                                Impaired - deemed to reject

                                                                  11           B.       Unclassified Claims.
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                                                                  12                    1.          In General.
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                                                                  13           As provided in section 1123(a)(1) of the Bankruptcy Code, Administrative Expenses and
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                                                                  14   Priority Tax Claims against the Debtor are not classified for purposes of voting on, or receiving

                                                                  15   Distributions under, the Plan. Holders of such Claims are not entitled to vote on the Plan. All such

                                                                  16   Claims, together with DIP Financing Claims, are instead treated separately in accordance herewith

                                                                  17   and in accordance with the requirements set forth in section 1129(a)(9) of the Bankruptcy Code.

                                                                  18                    2.          DIP Financing Claim.
                                                                  19           The DIP Financing Claim has been satisfied in full during the Chapter 11 Case.

                                                                  20                    3.          Administrative Expenses.
                                                                  21                                a.      General.
                                                                  22           Subject to the allowance procedures and deadlines provided herein, the Liquidating Trustee

                                                                  23   (or its agent) shall pay to each Holder of an Allowed Administrative Expense, on account of the

                                                                  24   Allowed Administrative Expense, and in full satisfaction thereof, Cash equal to the amount of such

                                                                  25   Allowed Administrative Expense, unless the Holder agrees to other treatment. Except as otherwise

                                                                  26   provided herein or in a prior order of the Bankruptcy Court: (i) payment of an Administrative

                                                                  27   Expense that is an Allowed Claim as of the Effective Date shall be made on the later of the Effective

                                                                  28   Date or the date such payment would have become due for payment of such Allowed Administrative

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                                                                   1   Expense in the absence of the Chapter 11 Case, whether pursuant to contract or applicable non-

                                                                   2   bankruptcy law; and (ii) payment of an Administrative Expense that becomes an Allowed Claim

                                                                   3   following the Effective Date shall be made on or before the date that is thirty (30) days after an order

                                                                   4   deeming such Administrative Expense an Allowed Claim becomes a Final Order.

                                                                   5                                b.      Deadlines for Filing Claims.
                                                                   6                                        (i)    Administrative Expenses Arising Before or On April 30, 2017.
                                                                   7           In accordance with the Claims Bar Date Order, all applications for payment of

                                                                   8   Administrative Expenses incurred between the Petition Date and April 30, 2017 (other than

                                                                   9   Professional Persons), must have Filed such applications prior to the First Administrative Expenses

                                                                  10   Bar Date. Persons that failed to File such applications on or before the First Administrative

                                                                  11   Expenses Bar Date shall be barred from asserting such Administrative Expenses against the Debtor,
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                                                                  12   the Estate, the Liquidating Trust, the Liquidating Trustee, or any of their respective property.
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                                                                  13                                        (ii)   Administrative Expenses Arising Between April 30, 2017 and
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                                                                                                                   Effective Date; Professional Persons’ Fees.
                                                                  14
                                                                               All applications for final compensation of Professional Persons for services rendered and for
                                                                  15
                                                                       reimbursement of expenses incurred on or before the Effective Date and all other requests for
                                                                  16
                                                                       payment of Administrative Expenses incurred between April 30, 2017 and the Effective Date
                                                                  17
                                                                       pursuant to Bankruptcy Code sections 327, 328, 330, 331, 503(b), 507(a)(1) or 1103 (except only for
                                                                  18
                                                                       post-petition obligations incurred through the Effective Date in the ordinary course of the Debtor’s
                                                                  19
                                                                       post-petition business and obligations under section 1930 of title 28 of the United States Code) shall
                                                                  20
                                                                       be filed no later than sixty (60) days after the Effective Date (the “Second Administrative Expenses
                                                                  21
                                                                       Bar Date”). Professional Persons and others that do not File such requests on or before the Second
                                                                  22
                                                                       Administrative Expenses Bar Date shall be barred from asserting such Administrative Expenses
                                                                  23
                                                                       against the Debtor, the Estate, the Liquidating Trust, the Liquidating Trustee, or any of their
                                                                  24
                                                                       respective property. Objections to applications of Professional Persons or others for compensation
                                                                  25
                                                                       or reimbursement of expenses must be Filed and served on the Liquidating Trustee and its counsel,
                                                                  26
                                                                       as well as the Professional Persons and others to whose application the objection is addressed, in
                                                                  27

                                                                  28

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                                                                   1   accordance with the Bankruptcy Code, the Bankruptcy Rules or pursuant to any other procedure set

                                                                   2   forth by an order of the Bankruptcy Court.

                                                                   3                    4.          Priority Tax Claims
                                                                   4           Except as otherwise agreed to by the parties, or ordered by the Bankruptcy Court, as soon as

                                                                   5   practicable after the Effective Date, each holder of an unpaid Allowed Priority Tax Claim shall

                                                                   6   receive payment in full in an amount equal to the Allowed Priority Tax Claim.

                                                                   7           Except as otherwise provided in section 503(b)(l)(D) of the Bankruptcy Code and 28 U.S.C.

                                                                   8   § 960, all requests for payment of Claims by a governmental unit (as defined under section 101(27)

                                                                   9   of the Bankruptcy Code) for taxes (and for interest and/or penalties related to such taxes) for any tax

                                                                  10   year or period, all or any portion of which occurs or falls within the period from and including the

                                                                  11   Petition Date through and including the Effective Date, and for which no bar date has otherwise
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                                                                  12   been previously established or is governing (including the First Administrative Expenses Bar Date),
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                                                                  13   must be Filed on or before the later of: (a) sixty (60) days following the Effective Date; or (b) ninety
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                                                                  14   (90) days following the filing of the tax return for such taxes for such tax year or period with the

                                                                  15   applicable governmental unit. Except as otherwise provided in section 503(b)(1)(D) of the

                                                                  16   Bankruptcy Code and 28 U.S.C. § 960, any Holder of a Claim for taxes is required to File a request

                                                                  17   for a payment of the post-petition taxes and other monies due related to such taxes. Except as

                                                                  18   otherwise provided in section 503(b)(l)(D) of the Bankruptcy Code and 28 U.S.C. § 960, any Holder

                                                                  19   of a Claim for taxes which does not File such a Claim by the applicable bar date shall be forever

                                                                  20   barred from asserting any such Claim against the Debtor, the Estate, the Liquidating Trust, the

                                                                  21   Liquidating Trustee, or any of their respective property, whether any such Claim is deemed to arise

                                                                  22   prior to, on, or subsequent to the Effective Date, and shall receive no Distribution under the Plan or

                                                                  23   otherwise on account of such Claim.
                                                                              C.     Classification and Treatment.
                                                                  24
                                                                               The treatment of Claims and Equity Interests under this Plan is in full and complete
                                                                  25
                                                                       satisfaction of the legal, contractual, and equitable rights that each Holder or a Claim or Holder of an
                                                                  26
                                                                       Equity Interest may have in or against the Debtor or its property. This treatment supersedes and
                                                                  27
                                                                       replaces any agreements or rights which those entities have in or against the Debtor or its property.
                                                                  28

                                                                                                                          14
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                                                                   1   NO DISTRIBUTIONS SHALL BE MADE, AND NO RIGHTS SHALL BE RETAINED, ON

                                                                   2   ACCOUNT OF ANY CLAIM THAT IS NOT AN ALLOWED CLAIM.

                                                                   3                      1.        Class 1: Other Priority Claims.
                                                                   4                                a.      Classification: Class 1 consists of all Claims entitled to priority in

                                                                   5   right of payment under section 507(a) of the Bankruptcy Code, except Priority Tax Claims and

                                                                   6   Administrative Expenses.

                                                                   7                                b.      Treatment: The Liquidating Trustee shall pay all Allowed Claims in

                                                                   8   this Class in full, in Cash, on the later of: (i) the Effective Date; and (ii) the date on which an order

                                                                   9   allowing such Claim becomes a Final Order, and in each case or as soon thereafter as is practicable.

                                                                  10   Class 1 is not Impaired, and the holders of Claims in Class 1 are not entitled to vote to accept or

                                                                  11   reject the Plan.
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                                                                  12                      2.        Class 2: Secured Claims.
                                        LOS ANGELES, CALIFORNIA




                                                                  13                                a.      Classification: Class 2 consists of Secured Claims. For purposes of
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                                                                  14   Distributions under the Plan, each Holder of a Secured Claim in Class 2 is considered to be in its

                                                                  15   own separate subclass within Class 2 (i.e., Class 2A, Class 2B, etc.), and each such subclass is

                                                                  16   deemed to be a separate Class for purposes of the Plan.

                                                                  17                                b.      Treatment: Except to the extent that a Holder of an Allowed Secured

                                                                  18   Claim has been paid by the Debtor, in whole or in part, prior to the Effective Date, on the Effective

                                                                  19   Date or as soon as reasonably practicable thereafter, at the option of the Debtor, each Holder of an

                                                                  20   Allowed Secured Claim shall receive, in full satisfaction, settlement, and release of, and in exchange

                                                                  21   for, such Secured Claim, (x) payment in full in Cash of the unpaid portion of such Allowed Secured

                                                                  22   Claim, (y) return of the collateral securing such Claim or (z) such other treatment as may be agreed

                                                                  23   to by the Holder. The Debtor shall inform each Holder of a Secured Claim of the treatment of such

                                                                  24   creditor’s Secured Claim not less than ten (10) days prior to the Confirmation Hearing. Class 2 is

                                                                  25   not Impaired, and the Holders of Claims in Class 2 are not entitled to vote to accept or reject the

                                                                  26   Plan.

                                                                  27                      3.        Class 3: General Unsecured Claims.
                                                                  28                                a.      Classification: Class 3 consists of all General Unsecured Claims.

                                                                                                                              15
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                                                                   1                                b.      Treatment: On the Effective Date, unless a Holder of an Allowed

                                                                   2   Class 3 Claim agrees to accept a lesser treatment of such Claim, each Holder of an Allowed Class 3

                                                                   3   Claim shall receive, in full satisfaction, settlement, and release of, and in exchange for, such General

                                                                   4   Unsecured Claim, an allocated Class 3 Trust Interest, which shall entitle the Holder to receive its Pro

                                                                   5   Rata share of funds available to Holders of Class 3 Trust Interests pursuant to the Liquidating Trust

                                                                   6   Agreement. Class 3 is Impaired, and the Holders of Allowed Class 3 Claims are entitled to vote to

                                                                   7   accept or reject the Plan.

                                                                   8                                        c.     Timing of Distributions: The Liquidating Trustee shall make

                                                                   9   Distributions to the Holders of Allowed Class 3 Claims on account of their respective Class 3 Trust

                                                                  10   Interests. All Holders of Allowed Class 3 Claims shall receive an initial Distribution of their

                                                                  11   respective Class 3 Trust Interests within 120 days following the Effective Date, or on such later date
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                                                                  12   as the Liquidating Trustee determines to be practicable, in the exercise of its sole and absolute
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                                                                  13   discretion, and shall receive thereafter Distributions of their respctive Class 3 Trust Interests on each
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                                                                  14   180th-day anniversary of the Effective Date, or on such later date as the Liquidating Trustee

                                                                  15   determines to be practicable in the exercise of its sole and absolute discretion. Holders of Allowed

                                                                  16   Class 3 Claims shall receive any final Distribution of their respective Class 3 Trust Interests within

                                                                  17   ten (10) days after the Liquidating Trustee’s filing of the Liquidating Trustee’s Certification (as such

                                                                  18   term is defined in Section V.B.17 hereof), or as soon thereafter as is practicable.

                                                                  19                                        d.     Post-Petition Interest: In accordance with section 726(a)(5) of

                                                                  20   the Bankruptcy Code, an Allowed Class 3 Claim shall not include post-petition interest on account

                                                                  21   of such Allowed Class 3 Claim, except to the extent that all of the following are satisfied and paid in

                                                                  22   full: (i) all Allowed Administrative Claims; (ii) all Allowed Priority Tax Claims; (iii) all Allowed

                                                                  23   Other Priority Claims; (iv) all Allowed Secured Claims; (v) all Allowed General Unsecured Claims;

                                                                  24   (vi) all late-filed Claims; (vii) all Post-Effective Date Plan Expenses; and (viii) all Allowed Claims

                                                                  25   for fines, penalties, or forfeiture, or for multiple, exemplary or punitive damages, arising before the

                                                                  26   Petition Date, to the extent that such Claims are not for actual pecuniary loss suffered by the Holder

                                                                  27   of such Claim, as set forth in section 726(a)(4) of the Bankruptcy Code. Any post-petition interest

                                                                  28

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                                                                   1   that may be payable on an Allowed General Unsecured Claim shall be calculated from the Petition

                                                                   2   Date through the date on which such Allowed General Unsecured Claim is paid in full.

                                                                   3                                        e.     Conditions to Payment of Distributions: Notwithstanding any

                                                                   4   other provision to the contrary contained in this Plan, no Distribution shall be made on account of

                                                                   5   any Allowed Class 3 Claim until each of the following occurs: (i) all Administrative Claims are paid

                                                                   6   or are reserved for; (ii) all Priority Tax Claims are paid or are reserved for; (iii) all Other Priority

                                                                   7   Claims are paid or are reserved for; (iv) all Allowed Secured Claims are paid or are reserved for

                                                                   8   (subject to the elections provided pursuant to Section II.C.2.d hereof); and (v) all outstanding

                                                                   9   Post-Effective Date Plan Expenses have been paid in full and an adequate reserve is established by

                                                                  10   the Liquidating Trustee providing for full payment of the estimated amount of all Post-Effective

                                                                  11   Date Plan Expenses through the Case Closing Date, in an amount to be determined by the
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                                                                  12   Liquidating Trustee in the exercise of its sole and absolute discretion.
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                                                                  13                    4.          Class 4: Equity Interests.
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                                                                  14                                a.      Classification: Class 4 consists of Equity Interests.
                                                                  15                                b.      Treatment: As of the Effective Date, each Holder of record of an

                                                                  16   Allowed Equity Interest shall not receive a Distribution under the Plan and all Equity Interests will

                                                                  17   be deemed to be cancelled and void; provided, however, that, in the event that each Allowed Claim,

                                                                  18   plus any post-petition interest to which the Holder thereof is entitled, is paid in full, each Holder of

                                                                  19   record of an Allowed Equity Interest shall receive, in full and complete satisfaction, exchange and

                                                                  20   release of such Allowed Equity Interest, its Pro Rata share of any funds remaining in the Liquidating

                                                                  21   Trust, payable as soon as practicable as determined by the Liquidating Trustee in the exercise of its

                                                                  22   sole and absolute discretion.

                                                                  23                                For the purpose only of determining any Distributions to which Holders of

                                                                  24   Allowed Equity Interests may be entitled under this Section II.C.4, each beneficial Holder of record

                                                                  25   of an Equity Interest in the Debtor as of the Effective Date shall be deemed to have an Allowed

                                                                  26   Equity Interest for the number of shares of stock in the Debtor held by it as of the Effective Date. In

                                                                  27   the event that any entity that is neither the Holder of record of an Equity Interest in the Debtor as of

                                                                  28   the Effective Date nor the beneficial owner of an Equity Interest in the Debtor as of the Effective

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                                                                   1   Date files a proof of right to record status pursuant to Rule 3003(d) of the Bankruptcy Rules, such

                                                                   2   proof of right shall be disallowed automatically and without any need for the Debtor, the Liquidating

                                                                   3   Trustee, or any other party-in-interest to object thereto or otherwise take any act with respect thereto.

                                                                   4                                Class 4 is Impaired, but because it is every likely that no Distributions shall

                                                                   5   be made to Holders of Equity Interests in Class 4, such Holders are deemed conclusively to have

                                                                   6   rejected the Plan pursuant to section 1126(g) of the Bankruptcy Code. Therefore the Holders of

                                                                   7   Interests in Class 4 are not entitled to vote to accept or reject the Plan.

                                                                   8   III.    ACCEPTANCE OR REJECTION OF THE PLAN
                                                                               A.  Voting Classes.
                                                                   9
                                                                               Each Holder of an Allowed Class 3 Claim shall be entitled to vote to accept or reject the
                                                                  10
                                                                       Plan. No other Holder of a Claim or Interest Equity shall be entitled to cast a vote with respect to the
                                                                  11
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                                                                       Plan.
                                                                  12           B.         Voting Rights of Holders of Disputed Claims.
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                                                                  13           A Disputed Claim will not be counted for purposes of voting on the Plan to the extent it is
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                                                                  14   disputed, provided an objection to such Claim has been filed no later than seven (7) calendar days

                                                                  15   prior to the deadline for casting ballots on the Plan, unless an order of the Bankruptcy Court is

                                                                  16   entered after notice and a hearing temporarily allowing the Disputed Claim for voting purposes

                                                                  17   under Bankruptcy Rule 3018(a).
                                                                              C.    Acceptance by Impaired Classes.
                                                                  18
                                                                               An Impaired Class of Claims shall have accepted the Plan if (i) the Holders (other than any
                                                                  19
                                                                       Holder designated under section 1126(e) of the Bankruptcy Code) of at least two-thirds in dollar
                                                                  20
                                                                       amount of the Allowed Claims actually voting in such Class have voted to accept the Plan and (ii)
                                                                  21
                                                                       more than one-half in number of the Holders (other than any Holder designated under section
                                                                  22
                                                                       1126(e) of the Bankruptcy Code) of such Allowed Claims actually voting in such Class have voted
                                                                  23
                                                                       to accept the Plan.
                                                                  24          D.       Presumed Acceptance/Rejection of the Plan.
                                                                  25           Classes 1 and 2 are unimpaired under the Plan and, therefore, are conclusively presumed by

                                                                  26   the Bankruptcy Code to accept the Plan. Class 4 is very likely not receiving a Distribution under the

                                                                  27   Plan and therefore, for the purpose of the Plan, is conclusively presumed by the Bankruptcy Code to

                                                                  28   reject the Plan.

                                                                                                                             18
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                                                                   1   IV.     PROVISIONS FOR TREATMENT OF DISPUTED, CONTINGENT, OR
                                                                               UNLIQUIDATED CLAIMS AND ADMINISTRATIVE EXPENSES
                                                                   2           A.   Resolution of Disputed Claims.

                                                                   3           As of the Effective Date, and subject to the provisions of this Plan, the Liquidating Trustee

                                                                   4   shall have the sole authority to investigate, administer, monitor, implement, litigate and settle all

                                                                   5   Disputed Claims. From and after the Effective Date, the Liquidating Trustee may file and prosecute

                                                                   6   objections to Claims, including, but not limited to, Administrative Expenses, Priority Tax Claims,

                                                                   7   and Other Priority Claims. All objections shall be filed prior to the Liquidating Trustee Claim

                                                                   8   Objection Deadline and served upon the Holder of the Claim to which the objection is made.
                                                                              B.    Reserve for Disputed Claims.
                                                                   9
                                                                               Cash which would be distributed on account of Holders of Disputed Claims, in the event that
                                                                  10
                                                                       such Disputed Claims become Allowed Claims, shall instead be placed in the Disputed Claims
                                                                  11
                                                                       Reserve maintained by the Liquidating Trustee. Such Cash in the Disputed Claims Reserve will be
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                                                                  12
                                                                       reserved for the benefit of Holders of such Disputed Claims pending determination of their
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                                                                  13
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                                                                       entitlement thereto. Unless the Bankruptcy Court orders otherwise, the Liquidating Trustee will
                                                                  14
                                                                       reserve Pro Rata Distributions for such Disputed Claims based upon the full amount of the Disputed
                                                                  15
                                                                       Claims or, in the case of a Disputed Claim that is an Administrative Expense, Priority Tax Claim or
                                                                  16
                                                                       Other Priority Claim, Cash in the full amount of such Disputed Claim. No reserve shall be required
                                                                  17
                                                                       for any Disputed Claim to the extent of any effective insurance coverage therefor. Such Cash so
                                                                  18
                                                                       reserved shall be distributed by the Liquidating Trustee to the holder of a Disputed Claim to the
                                                                  19
                                                                       extent that such Disputed Claim becomes an Allowed Claim pursuant to a Final Order.
                                                                  20
                                                                               To the extent that a Disputed Claim ultimately is disallowed or allowed in an amount less
                                                                  21
                                                                       than the amount of Cash that has been reserved, the resulting surplus Cash shall be allocated among
                                                                  22
                                                                       Holders of Allowed Claims in the Class in which the Disputed Claim was classified as provided in
                                                                  23
                                                                       the Plan.
                                                                  24
                                                                               To the extent that any portion of a Disputed Claim is not disputed, the Liquidating Trustee
                                                                  25
                                                                       shall establish a reserve in the Disputed Claims Reserve only on account of that portion of the
                                                                  26
                                                                       Disputed Claim that is in dispute and shall make one or more interim Distributions on account of the
                                                                  27
                                                                       portion of such Disputed Claim that is not in dispute.
                                                                  28

                                                                                                                        19
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                                                                   1           The Liquidating Trustee may, at the Liquidating Trustee’s sole discretion, file a tax election

                                                                   2   to treat the Disputed Claims Reserve as a Disputed Ownership Fund (“DOF”) within the meaning of

                                                                   3   Treasury Income Tax Regulation Section 1.468B-9 for federal income tax purposes, rather than tax

                                                                   4   such reserve as a part of the grantor liquidating trust. If the election is made, the Liquidating Trustee

                                                                   5   shall comply with all federal and state tax reporting and tax compliance requirements of the DOF,

                                                                   6   including but not limited to the filing of a separate federal income tax return for the DOF and the

                                                                   7   payment of federal and/or state income tax due.

                                                                   8           C.       Exclusive Right to Object to Claims.

                                                                   9           From and after the Effective Date, the Liquidating Trustee shall have the sole and exclusive

                                                                  10   right to file, litigate and settle objections to Disputed Claims. As the representative of the Estate, the

                                                                  11   Liquidating Trustee shall succeed to all of the rights and powers of the Debtor and the Estate with
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                                                                  12   respect to all objections to Disputed Claims, and shall be substituted for, and shall replace, the
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                                                                  13   Debtor and the Estate as the party-in-interest in all litigation regarding Disputed Claims pending as
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                                                                  14   of the Effective Date.

                                                                  15           D.       Investigation Regarding Disputed Claims.

                                                                  16           Notwithstanding the fact that the Liquidating Trustee shall have, after the Effective Date, the

                                                                  17   sole and exclusive right to file objections to Disputed Claims, nothing contained herein shall be

                                                                  18   deemed to obligate the Liquidating Trustee to file any objection to a Claim, which action shall be

                                                                  19   determined by the Liquidating Trustee in the exercise of its sole and absolute discretion.

                                                                  20           THE DEBTOR HAS NOT COMPLETED ITS INVESTIGATION REGARDING THE

                                                                  21   CLAIMS IN THE CHAPTER 11 CASE AND THE FILING OF OBJECTIONS TO

                                                                  22   DISPUTED CLAIMS. THIS INVESTIGATION IS ONGOING AND, SUBJECT ONLY TO

                                                                  23   THE LIQUIDATING TRUSTEE CLAIM OBJECTION DEADLINE, MAY OCCUR AFTER

                                                                  24   THE CONFIRMATION DATE. AS A RESULT, HOLDERS OF CLAIMS AND OTHER

                                                                  25   PARTIES-IN-INTEREST ARE HEREBY ADVISED THAT AN OBJECTION TO A

                                                                  26   DISPUTED CLAIM MAY BE FILED AT ANY TIME, SUBJECT ONLY TO THE

                                                                  27   LIQUIDATING TRUSTEE CLAIM OBJECTION DEADLINE. THE LIQUIDATING

                                                                  28   TRUSTEE SHALL HAVE THE RIGHT TO OBJECT TO AMOUNTS THAT HAVE BEEN

                                                                                                                        20
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                                                                   1   SCHEDULED BY THE DEBTOR, OR THAT ARE REFLECTED IN THE DEBTOR’S

                                                                   2   BOOKS AND RECORDS, AND WHICH ARE FOUND TO BE OBJECTIONABLE IN ANY

                                                                   3   RESPECT.

                                                                   4           E.       Distribution After Allowance.

                                                                   5           Within fourteen (14) days following the date on which a Disputed Claim becomes an

                                                                   6   Allowed Claim and is no longer a Disputed Claim, the Liquidating Trustee, as disbursing agent

                                                                   7   under this Plan, shall distribute to the Holder of such Allowed Claim any Cash or other property that

                                                                   8   would have been distributable to such Holder as if, at the time of the making of any Distribution to

                                                                   9   the Class of which such Holder is a member, such Claim had been an Allowed Claim and not a

                                                                  10   Disputed Claim.

                                                                  11   V.      IMPLEMENTATION OF THE PLAN
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                                                                  12           On or soon as practicable after the Effective Date, the following shall occur with respect to
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                                                                  13   the implementation of this Plan: (i) all acts, documents and agreements appropriate to implement
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                                                                  14   this Plan shall be executed; (ii) the Liquidating Trustee, as disbursing agent under this Plan, shall

                                                                  15   make all Distributions required to be made on or about the Effective Date of this Plan in accordance

                                                                  16   with the terms and conditions of this Plan; and (iii) the Liquidating Trustee, as disbursing agent

                                                                  17   under this Plan, shall fund reserves required to be funded pursuant to this Plan.

                                                                  18           Upon the Effective Date, all transactions and matters provided for under this Plan shall be

                                                                  19   deemed to have been authorized and approved by the Debtor without any requirement of further

                                                                  20   action by the Debtor, or Holders of Equity Interests in the Debtor.
                                                                               A.     Vesting of Assets.
                                                                  21
                                                                               Unless otherwise expressly provided under this Plan, on the Effective Date, the Debtor’s
                                                                  22
                                                                       Assets, including, without limitation, all Estate Causes of Action, will vest in the Liquidating Trust
                                                                  23
                                                                       free and clear of all claims, liens, encumbrances, charges and other interests, subject to the
                                                                  24
                                                                       provisions of the Plan. On and after the Effective Date, the transfer of the Debtor’s Assets from the
                                                                  25
                                                                       Estate to the Liquidating Trust will be deemed final and irrevocable and Distributions may be made
                                                                  26
                                                                       from the Liquidating Trust.
                                                                  27
                                                                               In connection with the foregoing:
                                                                  28

                                                                                                                        21
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                                                                   1           (a)      On the Effective Date, the appointment of the Liquidating Trustee shall become

                                                                   2   effective and the Liquidating Trustee shall begin to administer the Liquidating Trust pursuant to the

                                                                   3   terms of the Liquidating Trust Agreement and the Plan and may use, acquire and dispose of property

                                                                   4   of the Liquidating Trust free of any restrictions imposed under the Bankruptcy Code. The

                                                                   5   Liquidating Trustee shall have the rights, powers and duties provided for by this Plan, the

                                                                   6   Liquidating Trust Agreement, and by the Confirmation Order. The Liquidating Trustee, in the

                                                                   7   exercise of its reasonable business judgment, shall be responsible for liquidating the remaining assets

                                                                   8   of the Debtor, winding up the financial affairs of the Debtor, and for making Distributions to Holders

                                                                   9   of Claims in as efficient, effective and economical manner as is reasonably practicable so as to

                                                                  10   produce for Holders of Claims as favorable a recovery on their Claims as is reasonably possible

                                                                  11   under the circumstances of this case.
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                                                                  12           (b)      The Confirmation Order will provide the Liquidating Trustee with express authority
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                                                                  13   to convey, transfer and assign any and all of the Liquidating Trust Assets and to take all actions
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                                                                  14   necessary to effectuate same and to prosecute, settle and compromise (including, without limitation,

                                                                  15   by set-off) any and all Estate Causes of Action and Disputed Claims, without any need for notice to

                                                                  16   creditors or order or approval of the Bankruptcy Court.

                                                                  17           (c)      As of the Effective Date, the Liquidating Trust Assets will be free and clear of all

                                                                  18   liens, claims and interests of Holders of Claims and Equity Interests, except as otherwise provided in

                                                                  19   the Plan.
                                                                              B.        Establishment of the Liquidating Trust.
                                                                  20
                                                                                        1.          Generally.
                                                                  21
                                                                               On the Effective Date the Liquidating Trust Agreement will become effective, and, if not
                                                                  22
                                                                       previously signed, the Debtor and the Liquidating Trustee will execute the Liquidating Trust
                                                                  23
                                                                       Agreement. The Liquidating Trust is organized and established as a trust for the benefit of the
                                                                  24
                                                                       Beneficiaries and is intended to qualify as a liquidating trust within the meaning of Treasury
                                                                  25
                                                                       Regulation Section 301.7701-4(d).
                                                                  26

                                                                  27

                                                                  28

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                                                                   1                    2.          Beneficiaries.

                                                                   2           In accordance with Treasury Regulation Section 301.7701-4(d), the Beneficiaries of the

                                                                   3   Liquidating Trust will be the Holders of all Allowed Class 3 Claims against the Debtor. The Holders

                                                                   4   of such Allowed Claims will receive an allocation of the Liquidating Trust Assets as provided for in

                                                                   5   the Plan and the Liquidating Trust Agreement. The Beneficiaries of the Liquidating Trust shall be

                                                                   6   treated as the grantors and owners of such Beneficiaries’ respective portion of the Liquidating Trust.

                                                                   7                    3.          Implementation of the Liquidating Trust.

                                                                   8           On the Effective Date, the Debtor, on behalf of the Estate, and the Liquidating Trustee will

                                                                   9   be authorized and directed to take all such actions as required to transfer to the Liquidating Trust,

                                                                  10   from the Debtor and Estate, the Debtor’s Assets. From and after the Effective Date, the Liquidating

                                                                  11   Trustee will be authorized to, and will, take all such actions to implement the Liquidating Trust
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                                                                  12   Agreement and the provisions of the Plan as are contemplated to be implemented by the Liquidating
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                                                                  13   Trustee, including, without limitation, directing Distributions to Holders of Allowed Claims,
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                                                                  14   objecting, compromising and settling Claims (including, without limitation, exercising set-off rights

                                                                  15   and/or seeking the subordination and/or reclassification of Claims), prosecuting or otherwise

                                                                  16   resolving Estate Causes of Action and causing Distributions from the Liquidating Trust to be made

                                                                  17   to the Beneficiaries. The funding of the Liquidating Trust will be from the Debtor’s Cash on hand as

                                                                  18   of the Effective Date and the proceeds of the liquidation by the Liquidating Trustee of any other

                                                                  19   Liquidating Trust Assets.

                                                                  20                    4.          Transfer of the Debtor’s Assets.

                                                                  21           On the Effective Date, pursuant to the Plan and sections 1123, 1141 and 1146(a) of the

                                                                  22   Bankruptcy Code, the Debtor is authorized and directed to transfer, grant, assign, convey, set over,

                                                                  23   and deliver to the Liquidating Trustee all of the Debtor’s and Estate’s right, title and interest in and

                                                                  24   to its Assets, including all Estate Causes of Action, free and clear of all liens, Claims, encumbrances

                                                                  25   or interests of any kind in such property, except as otherwise expressly provided in the Plan. To the

                                                                  26   extent required to implement the transfer of the Debtor’s Assets from the Debtor and Estate to the

                                                                  27   Liquidating Trust, all Persons will cooperate with the Debtor and Estate to assist the Debtor and

                                                                  28   Estate to implement said transfers.

                                                                                                                           23
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                                                                   1                    5.          Representative of the Estate.

                                                                   2           The Debtor shall identify the Liquidating Trustee in its sole discretion subject to consultation

                                                                   3   with the Committee. The Liquidating Trustee will be appointed as the representative of the Debtor’s

                                                                   4   Estate pursuant to sections 1123(a)(5), (a)(7) and (b)(3)(B) of the Bankruptcy Code and as such will

                                                                   5   be vested with the authority and power (subject to the Liquidating Trust Agreement) to inter alia: (i)

                                                                   6   object to, settle and compromise Claims (including any Claim for payment of any Administrative

                                                                   7   Expense) against the Debtor (including, without limitation, exercising set-off rights and/or seeking

                                                                   8   the subordination and/or reclassification of Claims) and Equity Interests in the Debtor; (ii)

                                                                   9   administer, investigate, prosecute, settle and abandon all Estate Causes of Action assigned to the

                                                                  10   Liquidating Trust; (iii) make Distributions provided for in the Plan, including, but not limited to, on

                                                                  11   account of Allowed Claims; and (iv) take such action as required to administer, wind-down, and
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                                                                  12   close the Chapter 11 Case. Except only for the filing of a final decree to close the Chapter 11 Case
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                                                                  13   pursuant to Rule 3022 of the Bankruptcy Rules, the Liquidating Trustee may take, as representative
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                                                                  14   of the Estate, all acts to implement and consummate the Plan and the Liquidating Trust Agreement,

                                                                  15   including the acts set forth in this Section V.B.5, without any need for notice to creditors or order or

                                                                  16   approval of the Bankruptcy Court. As the representative of the Estate, the Liquidating Trustee will

                                                                  17   be vested with all of the rights and powers of the Debtor and Estate with respect to all Estate Causes

                                                                  18   of Action assigned and transferred to the Liquidating Trust, and the Liquidating Trustee will be

                                                                  19   substituted in place of the Debtor and Estate, as applicable, as the party in interest in all such

                                                                  20   litigation pending as of the Effective Date.

                                                                  21           From and after the Effective Date, the Liquidating Trustee shall, without any further notice or

                                                                  22   action, order, or approval of the Bankruptcy Court, pay in Cash the reasonable legal, professional, or

                                                                  23   other fees and expenses related to implementation and consummation of the Plan and Liquidating

                                                                  24   Trust Agreement incurred by the Liquidating Trust.

                                                                  25                    6.          No Liability of Liquidating Trustee.

                                                                  26           To the maximum extent permitted by law, the Liquidating Trustee, its employees, officers,

                                                                  27   directors, agents, members, and representatives, and professionals employed or retained by the

                                                                  28   Liquidating Trustee (the “Liquidating Trustee’s Agents”), will not have or incur liability to any

                                                                                                                           24
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                                                                   1   Person for an act taken or omission made in good faith in connection with or related to the

                                                                   2   administration of the Liquidating Trust Assets, the implementation of the Plan and the Distributions

                                                                   3   made thereunder or Distributions made under the Liquidating Trust Agreement; provided, however,

                                                                   4   that the foregoing limitation shall not apply to any damages suffered or incurred by any

                                                                   5   Holder of a Claim or Beneficiary that are found in a final judgment by a court of competent

                                                                   6   jurisdiction (not subject to further appeal) to have resulted primarily and directly from the

                                                                   7   fraud, gross negligence, willful misconduct, or from profit derived from a breach of trust by

                                                                   8   the Liquidating Trustee or the Liquidating Trustee’s Agents. The Liquidating Trustee, the

                                                                   9   Liquidating Trustee’s Agents, and their respective employees, officers, directors, agents, members,

                                                                  10   and representatives, and professionals employed or retained by any of them, will in all respects be

                                                                  11   entitled to reasonably rely on the advice of counsel with respect to their duties and responsibilities
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                                                                  12   under the Plan and the Liquidating Trust Agreement. Entry of the Confirmation Order constitutes a
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                                                                  13   judicial determination that the exculpation provision contained in this Section of the Plan is
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                                                                  14   necessary to, inter alia, facilitate Confirmation and feasibility and to minimize potential claims

                                                                  15   arising after the Effective Date for indemnity, reimbursement or contribution from the Estate, or the

                                                                  16   Liquidating Trust, or their respective property. The entry of the Confirmation Order confirming the

                                                                  17   Plan will also constitute a res judicata determination of the matters included in the exculpation

                                                                  18   provisions of the Plan. Notwithstanding the foregoing, nothing herein or in this Section of the Plan

                                                                  19   will alter any provision in the Liquidating Trust Agreement that provides for the potential liability of

                                                                  20   the Liquidating Trustee to any Person.

                                                                  21                    7.          Provisions Relating to Federal Income Tax Compliance.
                                                                  22           A transfer to the Liquidating Trust shall be treated for all purposes of the Internal Revenue

                                                                  23   Code of 1986, as amended (the “Internal Revenue Code”), as a transfer to creditors to the extent

                                                                  24   creditors are Beneficiaries. For example, such treatment shall apply for purposes of Internal

                                                                  25   Revenue Code sections 61(a)(12), 483, 1001, 1012 and 1274. Any such transfer shall be treated for

                                                                  26   federal income tax purposes as a deemed transfer to the beneficiary-creditors followed by a deemed

                                                                  27   transfer by the beneficiary-creditors to the Liquidating Trusts. The Beneficiaries of the Liquidating

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                                                                   1   Trust shall be treated for federal income tax purposes as the grantors and deemed owners of the

                                                                   2   Liquidating Trust.

                                                                   3                    8.          Cooperation with Liquidating Trustee.
                                                                   4           All Holders of Claims, Holders of Equity Interests and other parties-in-interest shall

                                                                   5   cooperate with the Liquidating Trustee by executing any documents, and by taking any acts,

                                                                   6   appropriate to implement the provisions of this Plan.

                                                                   7                    9.          Compensation of the Liquidating Trustee/Removal of the Liquidating
                                                                                                    Trustee.
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                                                                               On the Effective Date of this Plan, the Liquidating Trustee shall be appointed to serve under
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                                                                       this Plan and the Liquidating Trust Agreement. The Liquidating Trustee’s compensation shall be as
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                                                                       provided in the Liquidating Trust Agreement. The Liquidating Trustee shall serve during the term of
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                                                                       this Plan; provided, however, that, upon motion made with notice and an opportunity for a hearing
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                                                                       given to the Post-Effective Date Notice Parties, any party-in-interest shall be entitled to request, for
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                                                                       cause shown, that the Bankruptcy Court terminate the employment of the Liquidating Trustee and
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                                                                       replace it with another Person, who if appointed by Final Order of the Bankruptcy Court, will have
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                                                                       all of the rights, powers and duties provided to the Liquidating Trustee by this Plan, the Liquidating
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                                                                       Trust Agreement, the Confirmation Order and by the provisions of the Final Order of the Bankruptcy
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                                                                       Court appointing such replacement Liquidating Trustee.
                                                                  18
                                                                                        10.         Resignation of Liquidating Trustee.
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                                                                               Upon any resignation, death, disability or inability to serve of the Liquidating Trustee
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                                                                       (“Liquidating Trustee Service Termination Event”), the members of the Committee as of the
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                                                                       Confirmation Date may appoint a replacement Liquidating Trustee after notice to the Post-Effective
                                                                  22
                                                                       Date Notice Parties. In the event that no replacement Liquidating Trustee is appointed within
                                                                  23
                                                                       sixty (60) days after the date of any Liquidating Trustee Service Termination Event, the Office of the
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                                                                       United States Trustee may, after notice and an opportunity for hearing, request that the Chapter 11
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                                                                       Case be converted to one under chapter 7 of the Bankruptcy Code.
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                                                                   1                    11.         Funding of Post-Effective Date Plan Expenses.

                                                                   2           The Liquidating Trust shall be entitled to incur, and to be reimbursed for, Post-Effective Plan

                                                                   3   Expenses in performing its duties and obligations under the Plan and Liquidating Trust Agreement.

                                                                   4   All Post-Effective Date Plan Expenses shall be expenses of the Liquidating Trust. The Liquidating

                                                                   5   Trustee shall have no personal liability for any Post-Effective Date Plan Expenses. The Liquidating

                                                                   6   Trustee shall disburse funds from the Liquidating Trust Assets for the purpose of funding the Post-

                                                                   7   Effective Date Plan Expenses.

                                                                   8                    12.         Estate Causes of Action.

                                                                   9           The right to enforce, file, litigate, prosecute, settle, adjust, retain, enforce, collect and

                                                                  10   abandon on behalf of the Debtor and the Estate any and all Estate Causes of Action, including, but

                                                                  11   not limited to, any Avoidance Actions, is deemed automatically transferred on the Effective Date
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                                                                  12   from the Estate to the Liquidating Trustee.
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                                                                  13           As of the Effective Date, the Liquidating Trustee shall be authorized to exercise and to
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                                                                  14   perform the rights, powers and duties held by the Estate with respect to the Estate Causes of Action,

                                                                  15   and, from and after the Effective Date, the Liquidating Trustee, shall have the sole and exclusive

                                                                  16   right, to file, litigate, prosecute, settle, adjust, retain, enforce, collect and abandon claims and

                                                                  17   interests of the Estate with respect to the Estate Causes of Action, without the consent or approval of

                                                                  18   any third party, and without any further approval or order of the Bankruptcy Court.

                                                                  19           The Liquidating Trustee shall make the decision, in the exercise of its business judgment,

                                                                  20   whether to prosecute or to continue to prosecute any Estate Cause of Action. This decision shall be

                                                                  21   based, in part, upon the Liquidating Trustee’s evaluation of the merits of the Estate Cause of Action

                                                                  22   as well as the costs required to prosecute such Estate Cause of Action taking into account the

                                                                  23   resources available to make Distributions to Creditors. The Liquidating Trustee, shall be entitled to

                                                                  24   determine, in the exercise of its business judgment, not to prosecute, or to abandon, any Estate Cause

                                                                  25   of Action.

                                                                  26           The Liquidating Trustee may retain professionals to represent it in prosecuting Estate Causes

                                                                  27   of Action, including professionals who were employed by the Debtor or the Committee in the

                                                                  28   Chapter 11 Case. The Liquidating Trustee shall determine the terms of the retention of

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                                                                   1   professionals, in the exercise of its business judgment, and shall be entitled to retain counsel on a

                                                                   2   contingency fee basis to prosecute some or all of the Estate Causes of Action.

                                                                   3           Unless an Estate Cause of Action is expressly waived, relinquished, released, compromised,

                                                                   4   or settled in this Plan or in any Final Order, such Estate Cause of Action is expressly reserved for

                                                                   5   later adjudication by the Liquidating Trustee (including, without limitation, any Estate Causes of

                                                                   6   Action of which the Debtor presently may be unaware, or which may arise or exist by reason of facts

                                                                   7   or circumstances unknown to the Debtor at this time, or facts or circumstances which may change or

                                                                   8   be different from those which the Debtor now believes to exist) and, therefore, no preclusion

                                                                   9   doctrine, including, without limitation, the doctrines of res judicata, collateral estoppel, issue

                                                                  10   preclusion, claim preclusion, waiver, estoppel (judicial, equitable, or otherwise), or laches shall

                                                                  11   apply to the Liquidating Trustee’s prosecution of Estate Causes of Action based on the Disclosure
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                                                                  12   Statement, this Plan, or the Confirmation Order. Without limiting the generality of the foregoing,
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                                                                  13   any Person with respect to which the Debtor has incurred an obligation (whether on account of
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                                                                  14   services, purchase or sale of property, or otherwise), or who has received services from the Debtor or

                                                                  15   a transfer of money or property of the Debtor, or who has transacted business with the Debtor,

                                                                  16   should assume that such obligation, transfer, or transaction may be evaluated by the Liquidating

                                                                  17   Trustee subsequent to the Effective Date and may be the subject of an Avoidance Action or other

                                                                  18   action or proceeding filed after the Effective Date.

                                                                  19           THE DEBTOR HAS NOT COMPLETED ITS INVESTIGATION REGARDING THE

                                                                  20   EXISTENCE OF ESTATE CAUSES OF ACTION. THE INVESTIGATION IN THIS

                                                                  21   REGARD IS ONGOING. AS A RESULT, ALL PARTIES-IN-INTEREST ARE HEREBY

                                                                  22   ADVISED THAT, NOTWITHSTANDING THE FACT THAT THE EXISTENCE OF ANY

                                                                  23   PARTICULAR ESTATE CAUSE OF ACTION MAY NOT BE LISTED, DISCLOSED OR

                                                                  24   SET FORTH IN THIS PLAN, AN ESTATE CAUSE OF ACTION MAY BE FILED

                                                                  25   AGAINST ANY CREDITOR OR OTHER PARTY AS THE LIQUIDATING TRUSTEE

                                                                  26   MAY DETERMINE, IN THE EXERCISE OF ITS SOLE AND ABSOLUTE DISCRETION.

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                                                                   1                    13.         Post-Effective Date Professional Fees.

                                                                   2           The Liquidating Trustee may employ, without any need to give notice to Holders of Claims

                                                                   3   or other parties-in-interest or obtain any approval of the Bankruptcy Court, any professional to aid

                                                                   4   the Liquidating Trustee in performing the Liquidating Trustee’s duties under this Plan or the

                                                                   5   Liquidating Trust Agreement, as the Liquidating Truste deems appropriate in the exercise of its sole

                                                                   6   and absolute discretion, including rofessionals who were employed by the Debtor or the Committee

                                                                   7   in the Chapter 11 Case. Any professional employed by the Liquidating Trustee after the Effective

                                                                   8   Date shall be entitled to obtain from the Liquidating Trustee payment of the professional’s fees and

                                                                   9   costs as a Post-Effective Date Plan Expense, in the ordinary course, without any need to give notice

                                                                  10   to Holders of Claims or other parties-in-interest or to obtain any approval or order of the Bankruptcy

                                                                  11   Court. Notwithstanding the foregoing, if the Liquidating Trustee should fail to pay any post-
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                                                                  12   Effective Date fees and costs of a professional entitled to such payment, within thirty (30) days after
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                                                                  13   the professional’s rendering of its billing statement, the professional shall be entitled to seek, by
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                                                                  14   application filed in accordance with the Bankruptcy Rules, an order of the Bankruptcy Court

                                                                  15   requiring the Liquidating Trustee to forthwith pay to the professional its fees and costs.

                                                                  16                    14.         Approval for Disposition of Assets.

                                                                  17           From and after the Effective Date, the Liquidating Trustee shall be entitled to sell, transfer,

                                                                  18   assign, encumber or otherwise dispose of any interest in any of the Liquidating Trust Assets, without

                                                                  19   any need to give notice to Holders of Claims or parties-in-interest or to obtain any approval or order

                                                                  20   of the Bankruptcy Court. Notwithstanding the foregoing, the Liquidating Trustee shall be entitled to

                                                                  21   seek, from the Bankruptcy Court, an order authorizing the sale of any Liquidating Trust Asset free

                                                                  22   and clear of liens pursuant to the provisions of section 363(f) of the Bankruptcy Code.

                                                                  23                    15.         Compromise of Controversies.

                                                                  24           From and after the Effective Date, the Liquidating Trustee shall be entitled to compromise

                                                                  25   any objections to a Disputed Claim, or any controversies relating to Estate Causes of Action or other

                                                                  26   litigation pending after the Confirmation Date, without any need to give notice to creditors or

                                                                  27   parties-in-interest or to obtain any approval or order of the Bankruptcy Court.

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                                                                   1                    16.         Bankruptcy Court Approval Relative to Post-Confirmation Matters.

                                                                   2           Nothing contained in this Plan shall be deemed to impair in any manner the right of the

                                                                   3   Liquidating Trustee to seek at any time after the Effective Date orders of the Bankruptcy Court

                                                                   4   approving actions to be taken, or granting relief, consistent with this Plan as may be necessary or

                                                                   5   desirable to effectuate the provisions of this Plan.

                                                                   6                    17.         Liquidating Trustee Certification.

                                                                   7           On or before the date upon which the Liquidating Trustee determines, in the exercise of its

                                                                   8   sole and absolute discretion, that all Estate Causes of Action and objections to Disputed Claims have

                                                                   9   been resolved by Final Order, that all other Liquidating Trust Assets have been liquidated or

                                                                  10   otherwise disposed of, and that all Distributions required to be made under this Plan have been made

                                                                  11   or that final Distributions are being made or will be made within ten (10) days or as soon thereafter
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                                                                  12   as is practicable by the Liquidating Trustee, the Liquidating Trustee shall file with the Bankruptcy
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                                                                  13   Court and serve upon the Office of the United States Trustee and any other Post-Effective Date
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                                                                  14   Notice Party a certification attesting to such determination (“Liquidating Trustee Certification”).

                                                                  15                    18.         Final Decree.

                                                                  16           Unless earlier filed by the Liquidating Trustee, by the thirtieth (30th) day after the filing of

                                                                  17   the Liquidating Trustee Certification, the Liquidating Trustee shall file, in accordance with

                                                                  18   Rule 3022 of the Chapter 11 Bankruptcy Rules, an application with the Bankruptcy Court to obtain a

                                                                  19   final decree to close the Case.

                                                                  20                    19.         Other Rights, Powers and Duties of Liquidating Trustee.

                                                                  21           In addition to the rights, powers and duties granted expressly to the Liquidating Trustee

                                                                  22   pursuant to this Plan, the Liquidating Trustee shall have such other rights, powers and duties that are

                                                                  23   appropriate to implement and to carry out the provisions of this Plan for the benefit of Holders of

                                                                  24   Claims that are not inconsistent with the provisions of this Plan.

                                                                  25                    20.         Resolution of Disputes.

                                                                  26           In the event that a dispute should arise between the Liquidating Trustee and any party-in-

                                                                  27   interest in the Chapter 11 Case regarding any matters pertaining to this Plan, the Liquidating Trust

                                                                  28   Agreement or pertaining to the Liquidating Trustee’s performance of its duties and exercise of its

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                                                                   1   rights, powers and remedies under this Plan, either of them may request, pursuant to the provisions

                                                                   2   of the Bankruptcy Rules, that the Bankruptcy Court resolve the merits of such dispute.

                                                                   3                    21.         Termination of Employment of Liquidating Trustee.
                                                                   4           Upon the Case Closing Date, the rights, powers and duties granted to the Liquidating Trustee

                                                                   5   hereunder or under the Liquidating Trust Agreement shall terminate and the Liquidating Trustee

                                                                   6   shall be discharged.

                                                                   7                    22.         Bar Date for Filing Avoidance Action Payment Claims.
                                                                   8           Any Avoidance Action Payment Claim shall be forever barred, shall not be enforceable

                                                                   9   against the Debtor or the Estate and shall not be entitled to any Distribution under this Plan, unless a

                                                                  10   proof of Claim for such Avoidance Action Payment Claim is filed and served on the Liquidating

                                                                  11   Trustee within thirty (30) days after the later of (a) the date of entry of the order of the Bankruptcy
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                                                                  12   Court adjudging the creditor’s liability to the Debtor on account of such Avoidance Action, or (b)
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                                                                  13   the Effective Date.
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                                                                  14           C.       Prosecution of Estate Causes of Action by the Liquidating Trustee.

                                                                  15           Pursuant to the Confirmation Order, on the Effective Date, the Debtor irrevocably assigns,

                                                                  16   transfers and conveys to the Liquidating Trustee the right to manage and control all property of the

                                                                  17   Estate, including, but not limited to, all Estate Causes of Action. Subject to the provisions of this

                                                                  18   Plan and the Liquidating Trust Agreement, the Liquidating Trustee shall have the sole power and

                                                                  19   authority to prosecute, compromise or otherwise resolve after the Effective Date any and all such

                                                                  20   Estate Causes of Action, with all recoveries derived therefrom to be included within the Liquidating

                                                                  21   Trust Assets.

                                                                  22           D.       Issuance and Execution of Plan Related Documents.

                                                                  23           As of the Effective Date, the Debtor and/or the Liquidating Trustee will execute such

                                                                  24   amendments, modifications, supplements, and other documents as may be reasonably appropriate to

                                                                  25   implement the Plan. The Debtor and/or the Liquidating Trustee are authorized to execute such

                                                                  26   amendments, modifications, supplements and other documents as provided for in the Plan without

                                                                  27   any further corporate action, and upon such execution, such amendments, modifications,

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                                                                   1   supplements and other documents as provided for in the Plan shall be deemed binding upon the

                                                                   2   Debtor and/or the Liquidating Trustee and such other parties as applicable.

                                                                   3           E.       Dissolution of the Debtor and Termination of Current Officers, Directors,

                                                                   4                    Employees and Counsel; Dissolution of the Committee.

                                                                   5           From and after the Effective Date, the Debtor and the Committee shall be dissolved, and the

                                                                   6   Liquidating Trustee shall be authorized to take all action necessary to dissolve the Debtor. On the

                                                                   7   Effective Date, the employment, retention, appointment and authority of all officers (including,

                                                                   8   without limitation, the Chief Restructuring Officer of the Debtor), directors, employees and

                                                                   9   professionals of the Debtor, and all professionals of the Committee, shall be deemed to terminate;

                                                                  10   provided, however that such parties shall be entitled to prosecute final fee applications as necessary.

                                                                  11           On the Effective Date, the Committee shall cease to exist and its members, designated
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                                                                  12   representatives and/or agents (including, without limitation, attorneys and other advisors and agents)
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                                                                  13   shall, subject to those matters set forth below, be released and discharged from any further authority,
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                                                                  14   duties, responsibilities and obligations relating to, arising from, or in connection with the

                                                                  15   Committee. The Committee shall continue to exist after such date solely with respect to all the

                                                                  16   applications filed pursuant to sections 330 and 331 of the Bankruptcy Code seeking payment of fees

                                                                  17   and expenses incurred by any professional.

                                                                  18   VI.     DISTRIBUTIONS UNDER THE PLAN
                                                                  19           A.       In General.

                                                                  20           Except as otherwise provided herein, or as may be ordered by the Bankruptcy Court,

                                                                  21   Distributions to be made on account of Allowed Claims, other than Allowed Class 3 Claims, shall be

                                                                  22   made on or soon as reasonably practicable after the Effective Date. The date(s) for Distributions to

                                                                  23   be made on account of Allowed Class 3 Claims shall be selected by the Liquidating Trustee in

                                                                  24   accordance with the Liquidating Trust Agreement, provided, however, that the date(s) selected shall

                                                                  25   be made as soon as reasonably practicable after the Effective Date, subject to the terms of the

                                                                  26   Liquidating Trust Agreement.

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                                                                   1           B.       Manner of Payment Under the Plan.

                                                                   2           Any payment of Cash made by the Liquidating Trustee pursuant to the Plan may be made

                                                                   3   either by check drawn on a domestic bank or by wire transfer from a domestic bank, at the option of

                                                                   4   the Liquidating Trustee.

                                                                   5           C.       Manner of Distribution of Other Property.

                                                                   6           Any Distribution under the Plan of property other than Cash shall be made by the Liquidating

                                                                   7   Trustee in accordance with the terms of the Plan.

                                                                   8           D.       Set-offs.

                                                                   9           The Liquidating Trustee may set off against any Claim and the payments to be made

                                                                  10   pursuant to the Plan in respect of such Claim, any claims of any nature whatsoever that the Debtor,

                                                                  11   Estate or the Liquidating Trust may have against the Holder of such Claim; provided that neither the
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                                                                  12   failure to effect such set-off nor the allowance of any Claim that otherwise would be subject to set-
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                                                                  13   off, shall constitute a waiver or release by the Debtor, Estate or Liquidating Trust of any such claim
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                                                                  14   that the Debtor, Estate or Liquidating Trust may have against such Holder.

                                                                  15           E.       Distribution of Unclaimed Property.

                                                                  16           Except as otherwise provided in the Plan, any Distribution of property (Cash or otherwise)

                                                                  17   under the Plan which is unclaimed after the later of (i) one hundred eighty (180) days following the

                                                                  18   Effective Date or (ii) ninety (90) days after such Distribution has been remitted to the Holder of the

                                                                  19   Allowed Claim, shall be deemed Available Cash and distributed as provided for under the Plan.

                                                                  20           F.       De Minimis Distributions.

                                                                  21           No cash payment of less than fifty dollars ($50.00) shall be made by the Liquidating Trustee

                                                                  22   to any Holder of a Claim unless a request therefor is made in writing to the Liquidating Trustee.

                                                                  23           G.       Saturday, Sunday or Legal Holiday.

                                                                  24           If any payment or act under the Plan is required to be made or performed on a date that is not

                                                                  25   a Business Day, then the making of such payment or the performance of such act may be completed

                                                                  26   on the next succeeding Business Day, but shall be deemed to have been completed as of the required

                                                                  27   date.

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                                                                   1           H.       Delivery of Distributions, Address of Holder.

                                                                   2           For purposes of all notices and Distributions under this Plan, the Liquidating Trustee shall be

                                                                   3   entitled to rely on, and Distributions to Holders of Allowed Claims shall be made by regular U.S.

                                                                   4   first class mail to, the following name and address for the Holder of each such Claim: (a) the

                                                                   5   address set forth in the proof of Claim Filed by such Holder; (b) the address set forth in any written

                                                                   6   notice of address change delivered by the Holder to the Debtor or the Liquidating Trustee after the

                                                                   7   date on which any related proof of Claim was Filed, or (c) the address reflected on the Schedules if

                                                                   8   no proof of Claim is Filed and neither the Debtor nor the Liquidating Trustee has received a written

                                                                   9   notice of a change of address. The Liquidating Trustee shall be under no duty to attempt to locate

                                                                  10   Holders of Allowed Claims who are entitled to unclaimed Distributions.

                                                                  11           I.       Payment of Fees and Expenses of Disbursing Agent.
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                                                                  12           The fees and expenses incurred by the Liquidating Trustee, in connection with the
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                                                                  13   performance of its duties as disbursing agent under this Plan, shall be paid from the Liquidating
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                                                                  14   Trust Assets.

                                                                  15           J.       Approval for Schedule of Proposed Distributions.

                                                                  16           In the discretion of the Liquidating Trustee, the Liquidating Trustee shall be entitled to

                                                                  17   prepare a preliminary schedule of proposed Distributions to Holders of Claims (“Distribution

                                                                  18   Schedule”), and to apply, on an expedited basis, for an order of the Bankruptcy Court approving the

                                                                  19   making of such Distributions pursuant to the Distribution Schedule. Notice of any such application

                                                                  20   shall be served on the Post-Effective Date Notice Parties or as otherwise determined by the

                                                                  21   Bankruptcy Court.

                                                                  22           K.       Further Assurances Regarding Distributions.

                                                                  23           As a condition to obtaining Distributions under this Plan, each Holder of a Claim shall

                                                                  24   execute and deliver to the Liquidating Trustee, or join in the execution and delivery of, any

                                                                  25   agreement or instrument appropriate for the consummation of this Plan.

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                                                                   1           L.       Creditor’s Payment of Obligations or Turn Over of Property to the Liquidating

                                                                   2                    Trustee.

                                                                   3           As a condition to obtaining Distributions under this Plan, any Holder of a Claim from which

                                                                   4   property is recoverable pursuant to a Final Order of the Bankruptcy Court under sections 542, 543,

                                                                   5   550 or 553 of the Bankruptcy Code, or otherwise, or that is a transferee of a transfer avoidable

                                                                   6   pursuant to a Final Order of the Bankruptcy Court under sections 522, 544, 545, 547, 548 or 549 of

                                                                   7   the Bankruptcy Code or otherwise, shall pay to the Liquidating Trustee the amount, or turn over to

                                                                   8   the Liquidating Trustee any such property, for which such Holder of a Claim is liable to the Debtor.

                                                                   9   VII.    EXECUTORY CONTRACTS AND UNEXPIRED LEASES
                                                                  10           A.       Rejection.

                                                                  11           On the Effective Date, any and all agreements executed by the Debtor before the Effective
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                                                                  12   Date, other than agreements that were previously either assumed and assigned or rejected either by a
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                                                                  13   Final Order or under Bankruptcy Code section 365, to the extent that these agreements constitute
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                                                                  14   executory contracts or unexpired leases under Bankruptcy Code section 365, shall be rejected. The

                                                                  15   Confirmation Order shall constitute a Final Order approving this rejection. All Allowed Rejection

                                                                  16   Damage Claims shall be treated as Class 3 Claims under the Plan.

                                                                  17           B.       Bar Date for Rejection Damage Claims.

                                                                  18           Any Rejection Damage Claims arising from rejection under the Plan of an executory contract

                                                                  19   or unexpired lease must be filed with the Bankruptcy Court and served on the Liquidating Trustee

                                                                  20   and its counsel within thirty (30) days after the Effective Date. Any Rejection Damage Claims that

                                                                  21   are not timely filed and served will be forever barred and unenforceable against the Debtor, the

                                                                  22   Estate, the Liquidating Trust, the Liquidating Trustee, and their property, and the entities holding

                                                                  23   these Claims will be barred from receiving any Distributions under the Plan on account of their

                                                                  24   Rejection Damage Claims. The Liquidating Trustee shall have the right to object to any such

                                                                  25   Rejection Damage Claims; provided, however, that any such objections must be served and filed not

                                                                  26   later than one hundred twenty (120) days after the Effective Date, subject to extension for cause.

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                                                                   1           C.       Insurance Policies.

                                                                   2           For the avoidance of doubt, all of the Debtor’s rights with respect to all insurance policies

                                                                   3   under which the Debtor may be a beneficiary (including all insurance policies that may have expired

                                                                   4   prior to the Petition Date, all insurance policies in existence on the Petition Date, all insurance

                                                                   5   policies entered into by the Debtor after the Petition Date, and all insurance policies under which the

                                                                   6   Debtor holds rights to make, amend, prosecute and benefit from claims) are retained according to

                                                                   7   their respective terms and will be transferred or assigned to the Liquidating Trust pursuant to this

                                                                   8   Plan.

                                                                   9           Notwithstanding the foregoing and any provision providing for the rejection of executory

                                                                  10   contracts herein, any insurance policy that is deemed to be an executory contract shall neither be

                                                                  11   rejected nor assumed by operation of this Plan and shall be the subject of a specific motion by the
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                                                                  12   Liquidating Trustee who shall retain the right to assume or reject any such executory contract
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                                                                  13   pursuant to and subject to the provisions of section 365 of the Bankruptcy Code following the
                                           ATTORNEYS AT LAW




                                                                  14   Effective Date; until such time as the Liquidating Trustee rejects any such executory contract, all

                                                                  15   rights, interests, and remedies under such executory contract shall be retained fully by the

                                                                  16   Liquidating Trustee.

                                                                  17   VIII. EFFECTIVENESS OF THE PLAN
                                                                  18           A.       Conditions Precedent.

                                                                  19           The Effective Date shall not occur until the following condition(s) (the “Conditions

                                                                  20   Precedent”) have been satisfied or waived:

                                                                  21                    (i)         the Bankruptcy Court shall have entered an order granting approval of the

                                                                  22           Disclosure Statement and finding that it contains adequate information pursuant to section

                                                                  23           1125 of the Bankruptcy Code and that order shall have become a Final Order;

                                                                  24                    (ii)        the Bankruptcy Court shall have entered a Confirmation Order that is in form

                                                                  25           and substance satisfactory to the Debtor and the Committee;

                                                                  26                    (iii)       the Confirmation Order shall have become a Final Order; and

                                                                  27                    (iv)        no stay of the Confirmation Order is in effect.

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                                                                   1             Notwithstanding the foregoing, the Conditions Precedent set forth in Section VIII.A.iii hereof

                                                                   2   may be waived by the Debtor and the Committee (such waiver shall not require any notice,

                                                                   3   Bankruptcy Court order, or any further action).

                                                                   4             B.     The Effective Date.

                                                                   5             The Plan will not be consummated or become binding unless and until the Effective Date

                                                                   6   occurs. The Effective Date will be the later of: the date that is the first day of the month following

                                                                   7   the date on which all Conditions Precedent have been satisfied or waived. Any action to be taken on

                                                                   8   the Effective Date may be taken on or as soon as reasonably practicable after the Effective Date.

                                                                   9             C.     Confirmation Request.

                                                                  10             In the event that all of the applicable requirements of section 1129(a) are met other than

                                                                  11   section 1129(a)(8), the Debtor requests confirmation of the Plan under section 1129(b). The Debtor
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                                                                  12   will provide further support for Confirmation of the Plan under the “cram down” provisions of
                                        LOS ANGELES, CALIFORNIA




                                                                  13   section 1129(b) in its brief to be filed in support of the Plan.
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                                                                  14             D.     Notice of the Effective Date.

                                                                  15             As soon as practicable after the Effective Date has occurred, the Liquidating Trustee shall

                                                                  16   file with the Bankruptcy Court an informational notice specifying the Effective Date, as a matter of

                                                                  17   record.

                                                                  18   IX.       RETENTION OF JURISDICTION
                                                                  19             This Plan shall not in any way limit the Bankruptcy Court’s post-confirmation jurisdiction as

                                                                  20   provided under the Bankruptcy Code. The Bankruptcy Court will retain and have exclusive

                                                                  21   jurisdiction to the fullest extent permissible over any proceeding (i) arising under the Bankruptcy

                                                                  22   Code or (ii) arising in or related to the Chapter 11 Case or the Plan, including but not limited to the

                                                                  23   following:

                                                                  24             a)     To hear and determine pending motions for the assumption, assumption and

                                                                  25   assignment, or rejection of executory contracts or unexpired leases, if any are pending as of the

                                                                  26   Effective Date, the determination of any cure payments related thereto, and the allowance or

                                                                  27   disallowance of Claims resulting therefrom;

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                                                                   1           b)       To determine any and all adversary proceedings, applications, motions, and contested

                                                                   2   matters instituted prior to the closing of the Chapter 11 Case;

                                                                   3           c)       To ensure that Distributions to holders of Allowed Claims are accomplished as

                                                                   4   provided herein;

                                                                   5           d)       To hear and determine any objections to Administrative Expenses and to proofs of

                                                                   6   Claims filed both before and after the Effective Date (including, without limitation, whether all or

                                                                   7   any part of any Claim set forth in any such proof of Claim or Administrative Expense is subject to

                                                                   8   partial or complete subordination pursuant to applicable law), and to allow or disallow any Disputed

                                                                   9   Claim in whole or in part, provided, however, that, for the avoidance of doubt, the Liquidating

                                                                  10   Trustee may settle or compromise (including by set-off) any Disputed Claim without further Order

                                                                  11   of the Court;
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                                                                  12           e)       To hear and determine all applications for compensation and reimbursement of
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                                                                  13   expenses of Professional Persons under sections 330, 331, and 503(b) of the Bankruptcy Code;
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                                                                  14           f)       To hear and determine any disputes arising in connection with the interpretation,

                                                                  15   implementation, execution, or enforcement of the Plan, the Liquidating Trust Agreement, the

                                                                  16   Confirmation Order, or any other order of the Bankruptcy Court;

                                                                  17           g)       To hear or determine any action to recover assets of the Estate, wherever located;

                                                                  18           h)       To hear and determine any actions or matters related to Estate Causes of Action,

                                                                  19   whether or not such actions or matters are pending on the Effective Date;

                                                                  20           i)       To hear and determine any matters concerning state, local, and federal taxes in

                                                                  21   accordance with sections 346, 505, and 1146 of the Bankruptcy Code;

                                                                  22           j)       To hear and determine any objections to the allowance of Claims or Administrative

                                                                  23   Claims, whether filed before or after the Confirmation Date, including any objections to the

                                                                  24   classification of any Claim, and any proceedings to allow, disallow, determine, liquidate, estimate,

                                                                  25   or establish the priority or the secured or unsecured status of any Claim, or to establish reserves

                                                                  26   pending the resolution of Disputed Claims;

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                                                                   1           k)       To hear and determine any proceeding to modify this Plan, after confirmation of this

                                                                   2   Plan, and, if in the best interests of Holders of Claims, modification of this Plan even after this Plan

                                                                   3   has been substantially consummated;

                                                                   4           l)       To consider the issuance of injunctions or other orders as may be necessary or

                                                                   5   appropriate to aid in the implementation of this Plan or to restrain interference by any entity with the

                                                                   6   consummation or the enforcement of this Plan;

                                                                   7           m)       To hear any other matter not inconsistent with the Bankruptcy Code;

                                                                   8           n)       To hear any other matter deemed relevant by the Bankruptcy Court; and

                                                                   9           o)       To enter a final decree closing the Chapter 11 Case.

                                                                  10   X.      RELEASES, EXCULPATION AND INJUNCTION
                                                                  11           A.       Releases by the Debtor
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                                                                  12           In consideration for services rendered to the Estate and for the consideration as more fully
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                                                                  13   set forth herein, to the greatest extent permissible by law, and except as otherwise specifically
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                                                                  14   provided in this Plan, as of the Effective Date, the Debtor shall be deemed to have conclusively,

                                                                  15   absolutely, unconditionally, irrevocably and forever released and discharged each of the Released

                                                                  16   Parties of and from any and all past, present and future legal actions, causes of action, choses in

                                                                  17   action, rights, demands, suits, claims, liabilities, encumbrances, lawsuits, adverse consequences,

                                                                  18   amounts paid in settlement, costs, fees, damages, debts, deficiencies, diminution in value,

                                                                  19   disbursements, expenses, losses and other obligations of any kind, character or nature

                                                                  20   whatsoever, whether in law, equity or otherwise (including, without limitation, those arising under

                                                                  21   Chapter 5 of the Bankruptcy Code and applicable non-bankruptcy law, and any and all alter-ego,

                                                                  22   lender liability, indemnification or contribution theories of recovery, and interest or other costs,

                                                                  23   penalties, legal, accounting and other professional fees and expenses, and incidental,

                                                                  24   consequential and punitive damages payable to third parties), whether known or unknown, fixed

                                                                  25   or contingent, direct, indirect, or derivative, asserted or unasserted, foreseen or unforeseen,

                                                                  26   suspected or unsuspected, now existing, heretofore existing or which may heretofore accrue

                                                                  27   against the Debtor or the Released Parties (in each case, solely in their capacities as such)

                                                                  28   occurring from the beginning of time to and including the Effective Date related in any way,

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                                                                   1   directly or indirectly, arising out of, and/or connected with any or all of the Debtor or the Estate;

                                                                   2   provided, however, that notwithstanding the foregoing or any other provision of this Plan, nothing

                                                                   3   in this Plan, or any order confirming this Plan shall affect any causes of action, claims, or

                                                                   4   counterclaims that may be asserted in connection with an objection to a Claim that has not been

                                                                   5   Allowed, in each case as determined by a court of competent jurisdiction. Notwithstanding

                                                                   6   anything to the contrary in this Plan, this Article does not release any post-Effective Date

                                                                   7   obligations of any party under this Plan or any document, instrument, or agreement executed to

                                                                   8   implement this Plan. Furthermore, nothing in this Plan shall affect the liability of any Claims

                                                                   9   held by any third party against any of the Released Parties.

                                                                  10           B.       Exculpation

                                                                  11           None of the Exculpated Parties shall have or incur any liability for any act or omission in
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                                                                  12   connection with, related to, or arising out of, the Chapter 11 Case, the formulation, preparation,
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                                                                  13   dissemination, implementation, confirmation, or approval of this Plan, the administration of this
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                                                                  14   Plan, or any contract, instrument, release, or other agreement or document provided for or

                                                                  15   contemplated in connection with the consummation of the transactions set forth in this Plan,

                                                                  16   provided, however, that the foregoing provisions shall not affect the liability of any Person that

                                                                  17   would result solely from any such act or omission to the extent that act or omission is determined

                                                                  18   by a Final Order of the Court to have constituted willful misconduct or gross negligence or

                                                                  19   breach of fiduciary duty; provided further, however, that this provision shall not limit the Debtor’s

                                                                  20   obligations under this Plan; provided further, however, that notwithstanding the foregoing or any

                                                                  21   other provision of this Plan, nothing in this Plan, or any order confirming this Plan shall affect

                                                                  22   any causes of action, claims, or counterclaims that may be asserted in connection with an

                                                                  23   objection to a Claim that has not been Allowed, in each case as determined by a court of

                                                                  24   competent jurisdiction.

                                                                  25           C.       No Liability for Solicitation or Participation.

                                                                  26           As specified in section 1125(e) of the Bankruptcy Code, Persons that solicit acceptances or

                                                                  27   rejections of this Plan, in good faith and in compliance with the applicable provisions of the

                                                                  28   Bankruptcy Code, shall not be liable, on account of such solicitation or participation, for violation of

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                                                                   1   any applicable law, rule, or regulation governing the solicitation of acceptances or rejections of this

                                                                   2   Plan or the offer, issuance, sale, or purchase of securities.

                                                                   3           D.       Good Faith.

                                                                   4           Confirmation of this Plan shall constitute a finding that the Plan was proposed, and that

                                                                   5   acceptances of the Plan were solicited, in good faith and in compliance with applicable provisions of

                                                                   6   the Bankruptcy Code.

                                                                   7           E.       Injunction Enjoining Holders of Claims Against Debtor.

                                                                   8           The Plan is the sole means for resolving, paying or otherwise dealing with Claims and Equity

                                                                   9   Interests. To that end, except as expressly provided in the Plan, at all times on and after the

                                                                  10   Effective Date, all Persons who have been, are, or may be holders of Claims against or Interests in

                                                                  11   the Debtor, arising prior to the Effective Date, will be permanently enjoined from taking any of the
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                                                                  12   following actions, on account of any such Claim or Equity Interest, against the Debtor, the Estate,
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                                                                  13   the Liquidating Trust or its property (other than actions brought to enforce any rights or obligations
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                                                                  14   under the Plan):(a)          commencing, conducting or continuing in any manner, directly or indirectly

                                                                  15   any suit, action, or other proceeding of any kind against the Debtor and/or Estate, the Liquidating

                                                                  16   Trust, or the Liquidating Trustee, their successors, or their respective property or assets (including,

                                                                  17   without limitation, all suits, actions, and proceedings that are pending as of the Effective Date which

                                                                  18   will be deemed to be withdrawn or dismissed with prejudice);

                                                                  19           (b)      Enforcing, levying, attaching, executing, collecting, or otherwise recovering by any

                                                                  20   manner or means whether directly or indirectly any judgment, award, decree, or order against the

                                                                  21   Debtor, the Estate, the Liquidating Trust, or the Liquidating Trustee, their successors, or their

                                                                  22   respective property or assets;

                                                                  23           (c)      creating, perfecting, or otherwise enforcing in any manner, directly or indirectly, any

                                                                  24   lien, security interest or encumbrance against the Debtor, the Estate, the Liquidating Trust, or the

                                                                  25   Liquidating Trustee, their successors, or their respective property or assets; and

                                                                  26           (d)      proceeding in any manner in any place whatsoever against the Debtor, the Estate, the

                                                                  27   Liquidating Trust, or the Liquidating Trustee, their successors, or their respective property or assets

                                                                  28   that does not conform to or comply with the provisions of the Plan.

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                                                                   1           F.       Nondischarge of the Debtor.

                                                                   2           In accordance with Bankruptcy Code section 1141(d)(3), the Confirmation Order will not

                                                                   3   discharge Claims. However, no Holder of a Claim may receive any payment from, or seek recourse

                                                                   4   against, any assets that are to be distributed under the Plan other than assets required to be

                                                                   5   distributed to that Holder pursuant to the Plan. As of the Confirmation Date, all Persons are

                                                                   6   enjoined from asserting against any property that is to be distributed under the Plan, any Claims,

                                                                   7   rights, causes of action, liabilities, or Equity Interests based upon any act, omission, transaction, or

                                                                   8   other activity that occurred before the Confirmation Date except as expressly provided in the Plan or

                                                                   9   the Confirmation Order.

                                                                  10   XI.     MISCELLANEOUS PROVISIONS
                                                                  11           A.       Payment of Statutory Fees.
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                                                                  12           All quarterly fees due and payable to the Office of the United States Trustee pursuant to
                                        LOS ANGELES, CALIFORNIA




                                                                  13   section 1930(a)(6) of title 28 of the United States Code shall be duly paid in full on or before the
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                                                                  14   Effective Date, as required by section 1129(a)(12) of the Bankruptcy Code. The Liquidating Trust

                                                                  15   shall be responsible for timely payment of such quarterly fees due and payable after the Effective

                                                                  16   Date and until the Chapter 11 Case is closed, pursuant to section 1930(a)(6) of title 28 of the United

                                                                  17   States Code, with respect to cash disbursements made by the Liquidating Trustee under the Plan.

                                                                  18   After the Effective Date and until the Chapter 11 Case is closed, the Liquidating Trustee shall file

                                                                  19   with the Office of the United States Trustee monthly financial reports specifying all disbursements

                                                                  20   made pursuant to the Plan and shall make all payments based upon such disbursements as required

                                                                  21   by applicable law.

                                                                  22           B.       Preservation of Rights of Action.

                                                                  23           Except to the extent any rights, claims, defenses, and counterclaims are expressly and

                                                                  24   specifically released in connection with this Plan or in any settlement agreement approved during the

                                                                  25   Chapter 11 Case: (i) any and all Estate Causes of Action accruing to the Debtor’s Estate shall vest in

                                                                  26   the Liquidating Trust on the Effective Date, whether or not litigation relating thereto is pending on

                                                                  27   the Effective Date, and whether or not any such Estate Causes of Action have been listed or referred

                                                                  28   to in this Plan, the Disclosure Statement, or any other document filed with the Bankruptcy Court,

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                                                                   1   and (ii) the Debtor’s Estate does not waive, release, relinquish, forfeit, or abandon (and it shall not

                                                                   2   be estopped or otherwise precluded or impaired from asserting) any Estate Cause of Action that

                                                                   3   constitutes property of the Debtor’ Estate: (a) whether or not such Estate Cause of Action has been

                                                                   4   listed or referred to in this Plan, the Disclosure Statement, or any other document filed with the

                                                                   5   Bankruptcy Court, (b) whether or not such Estate Cause of Action is currently known to the Debtor

                                                                   6   or the Liquidating Trustee, and (c) whether or not a defendant in any litigation relating to such Estate

                                                                   7   Cause of Action filed a proof of claim in the Chapter 11 Case, filed a notice of appearance or any

                                                                   8   other pleading or notice in the Chapter 11 Case, voted for or against this Plan, or received or retained

                                                                   9   any consideration under this Plan.

                                                                  10           C.       Exemption from Stamp, Transfer and Other Taxes.

                                                                  11           Pursuant to section 1146(c) of the Bankruptcy Code, the issuance, transfer, or exchange of
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                                                                  12   assets under the Plan by the Debtor, the creation of any mortgage, deed of trust, or other security
                                        LOS ANGELES, CALIFORNIA




                                                                  13   interest, the making or assignment of any lease or sublease, or the making or delivery of any deed or
                                           ATTORNEYS AT LAW




                                                                  14   instrument of transfer under, in furtherance of, or in connection with the Plan, will not be subject to

                                                                  15   any stamp, real estate transfer, mortgage recording, or other similar tax.

                                                                  16                    1.          Headings.
                                                                  17           Headings are used in the Plan for convenience and reference only, and shall not constitute a

                                                                  18   part of the Plan for any other purpose.

                                                                  19                    2.          Binding Effect.
                                                                  20           The Plan shall be binding upon and inure to the benefit of the Debtor’ Estate, Holders of

                                                                  21   Claims, Holders of Equity Interests, and their respective successors or assigns.

                                                                  22           D.       Revocation or Withdrawal.

                                                                  23                    1.          Right to Revoke.

                                                                  24           The Debtor reserves the right to revoke or withdraw the Plan prior to the Confirmation Date.

                                                                  25                    2.          Effect of Revocation.

                                                                  26           If the Debtor revokes the Plan prior to the Confirmation Date or if the Confirmation Date or

                                                                  27   the Effective Date does not occur, then the Plan shall be deemed null and void. In such event,

                                                                  28   nothing contained herein shall be deemed to constitute a waiver or release of any claims by or

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                                                                   1   against the Debtor or Estate, or any other person or to prejudice in any manner the rights of the

                                                                   2   Debtor or Estate, or any person in any further proceedings involving the Debtor.

                                                                   3                    3.          Governing Law.
                                                                   4           Unless a rule of law or procedure is supplied by (i) federal law (including the Bankruptcy

                                                                   5   Code and Bankruptcy Rules), or (ii) an express choice of law provision in any agreement, contract,

                                                                   6   instrument or document provided for, or executed in connection with, this Plan, the rights and

                                                                   7   obligations arising under the Plan and any agreements, contracts, documents and instruments

                                                                   8   executed in connection with this Plan shall be governed by, and construed and enforced in

                                                                   9   accordance with, the laws of the State of California without giving effect to the principles of conflict

                                                                  10   of laws thereof.

                                                                  11                    4.          Withholding, Reporting, and Payment of Taxes.
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                                                                  12           In connection with the Plan and all instruments issued in connection therewith and
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                                                                  13   Distributions thereon, the Liquidating Trustee shall comply with all withholding and reporting
                                           ATTORNEYS AT LAW




                                                                  14   requirements imposed by any federal, state, local, or foreign taxing authority and all Distributions

                                                                  15   hereunder shall be subject to any such withholding and reporting requirements. The Liquidating

                                                                  16   Trustee shall report and pay taxes on the income of the Liquidating Trust Assets, if any, as required

                                                                  17   by applicable law. In addition, to the extent required by applicable law, reported Distributions from

                                                                  18   such reserves shall include all interest and investment income, if any, attributable to the Cash or

                                                                  19   property being distributed net of taxes which are, or are estimated to be, due and payable thereon.

                                                                  20                    5.          Other Documents and Actions.
                                                                  21           The Debtor on and prior to the Effective Date and the Liquidating Trustee after the Effective

                                                                  22   Date may execute such other documents and take such other actions as may be necessary or

                                                                  23   appropriate to effectuate the transactions contemplated under this Plan.

                                                                  24                    6.          Modification of the Plan.

                                                                  25           Prior to the Effective Date, the Plan may be altered, amended, or modified pursuant to

                                                                  26   section 1127 of the Bankruptcy Code by the Debtor. After the Effective Date, the Liquidating

                                                                  27   Trustee shall have the sole authority and power to alter, amend, or modify the Plan pursuant to

                                                                  28   section 1127 of the Bankruptcy Code.

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                                                                   1                    7.          Notices.

                                                                   2           Any notice to the Debtor or Liquidating Trustee required or permitted to be provided under

                                                                   3   the Plan shall be in writing and served by either (a) certified mail, return receipt requested, postage

                                                                   4   prepaid, (b) hand delivery, or (c) reputable overnight delivery service, freight prepaid, to be

                                                                   5   addressed as follows:

                                                                   6

                                                                   7           Debtor:

                                                                   8           Channel Technologies Group, LLC
                                                                               Attn: David Tiffany
                                                                   9           8714 East Sandalwood Dr
                                                                               Scottsdale, AZ 85250
                                                                  10

                                                                  11           With a copy to:
P ACHULSKI S TANG Z IEHL & J ONES LLP




                                                                  12           Pachulski Stang Ziehl & Jones LLP
                                                                               Attention: Jeffrey Dulberg
                                        LOS ANGELES, CALIFORNIA




                                                                  13           10100 Santa Monica Blvd., 13th Floor
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                                                                               Los Angeles, CA 90067
                                                                  14           Telephone: 310/277-6910
                                                                               Facsimile: 310/201-0760
                                                                  15
                                                                                        Liquidating Trustee:
                                                                  16
                                                                               Richard J. Feferman
                                                                  17           Corporate Recovery Associates
                                                                               3830 Valley Center Drive, Suite 705-152
                                                                  18           San Diego, CA 92130
                                                                               Telephone: 858/792.7473
                                                                  19

                                                                  20           E.       Severability of Plan Provisions.

                                                                  21           If, prior to Confirmation, any term or provision of the Plan is found by the Bankruptcy Court

                                                                  22   to be invalid, void or unenforceable, the Bankruptcy Court shall have the power to alter and interpret

                                                                  23   such term or provision to make it valid or enforceable to the maximum extent practicable, consistent

                                                                  24   with the original purpose of the term or provision held to be invalid, void or unenforceable, and such

                                                                  25   term or provision shall then be applicable as altered or interpreted. Notwithstanding any such

                                                                  26   holding, alteration or interpretation, the remainder of the terms and provisions of the Plan shall

                                                                  27   remain in full force and effect and shall in no way be affected, impaired or invalidated by such

                                                                  28   holding, alteration or interpretation. The Confirmation Order shall constitute a judicial

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                                                                   1   determination and shall provide that each term and provision of the Plan, as it may have been altered

                                                                   2   or interpreted in accordance with the foregoing, is valid and enforceable pursuant to its terms.

                                                                   3           F.       Successors and Assigns.

                                                                   4           The rights, benefits, and obligations of any entity named or referred to in the Plan shall be

                                                                   5   binding on, and shall inure to the benefit of, the heirs, executors, administrators, successors, and

                                                                   6   assigns of such entity.

                                                                   7           G.       Post-Confirmation Notice.

                                                                   8           From and after the Effective Date, any person who desires notice of any pleading or

                                                                   9   document filed in the Bankruptcy Court, or any hearing in the Bankruptcy Court, or other matter as

                                                                  10   to which the Bankruptcy Code requires notice to be provided, shall file a request for post-

                                                                  11   confirmation notice and shall serve the request on the Liquidating Trustee (“Post Effective Date
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                                                                  12   Notice Party”); provided, however, the United States Trustee shall be deemed to have requested
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                                                                  13   post-confirmation notice.
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                                                                  14           H.       Books and Records.

                                                                  15           Upon the Case Closing Date, the Liquidating Trustee shall be authorized, in the exercise of

                                                                  16   its sole and absolute discretion, to discard or destroy any and all pre-Effective Date books and

                                                                  17   records of the Debtor in the Liquidating Trustee’s custody or control. The Liquidating Trustee shall

                                                                  18   continue to preserve post-Effective Date books and records in its custody or control through the Case

                                                                  19   Closing Date, or as otherwise provided by order of the Bankruptcy Court.

                                                                  20           I.       Effectiveness of Court Orders.

                                                                  21           All orders and judgments, including injunctions, entered by the Bankruptcy Court during the

                                                                  22   Chapter 11 Case, and in existence on the Confirmation Date, shall remain in full force and effect

                                                                  23   from and after the Effective Date, to the extent not inconsistent with the provisions of this Plan or

                                                                  24   the Confirmation Order.

                                                                  25           J.       No Waiver.

                                                                  26           Neither the failure to list a Claim in the Schedules filed by the Debtor, the failure to object to

                                                                  27   any Claim for purposes of voting, the failure to object to a Claim or Administrative Claim prior to

                                                                  28   the Effective Date, the failure to assert an Estate Cause of Action prior to the Effective Date, nor any

                                                                                                                         46
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                                                                   1   action or inaction with respect to a Claim, Administrative Claim, or Estate Cause of Action, other

                                                                   2   than a legally effective express waiver or release, shall be deemed to be a waiver or release of the

                                                                   3   right of the Liquidating Trustee to object to or examine such Claim or Administrative Claim, in

                                                                   4   whole or in part, or retain and assert, pursue, prosecute, litigate, or otherwise enforce any Estate

                                                                   5   Cause of Action.

                                                                   6           K.       Other Documents and Actions.

                                                                   7           The Debtor and the Liquidating Trustee may execute such other documents and take such

                                                                   8   other actions as may be necessary or appropriate to effectuate the transactions contemplated under

                                                                   9   this Plan.

                                                                  10           L.       Inconsistencies.

                                                                  11           In the event that any provisions of this Plan are inconsistent with the provisions of the
P ACHULSKI S TANG Z IEHL & J ONES LLP




                                                                  12   Disclosure Statement, the provisions of this Plan shall control.
                                        LOS ANGELES, CALIFORNIA




                                                                  13           M.       Implementation of Section 1142 of the Bankruptcy Code.
                                           ATTORNEYS AT LAW




                                                                  14           Pursuant to section 1142(a) of the Bankruptcy Code, the Debtor and the Liquidating Trustee

                                                                  15   are authorized to carry out the terms of this Plan. Pursuant to section 1142(b) of the Bankruptcy

                                                                  16   Code, all Holders of Claims and Holders of Equity Interests shall execute and deliver, or join in the

                                                                  17   execution and delivery of, any instrument or document appropriate to effectuate this Plan, and

                                                                  18   perform any other act that is appropriate for the consummation of this Plan. To the extent that any

                                                                  19   Holder of a Claim or Holder of an Equity Interest fails to comply with these provisions, the Debtor

                                                                  20   and the Liquidating Trustee shall be entitled to obtain, on an expedited basis, an order of the

                                                                  21   Bankruptcy Court compelling such Holder’s compliance with these provisions, and, during the time

                                                                  22   period encompassed by such Holder’s non-compliance, no payment shall be made to such Holder

                                                                  23   under this Plan.

                                                                  24

                                                                  25           [REMAINDER OF PAGE INTENTIONALLY LEFT BLANK]

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                                       PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
                            10100 Santa Monica Blvd., 13th Floor, Los Angeles, CA 90067

A true and correct copy of the foregoing document entitled (specify): DEBTOR’S PROPOSED CHAPTER 11
LIQUIDATING PLAN will be served or was served (a) on the judge in chambers in the form and manner required by
LBR 5005-2(d); and (b) in the manner stated below:


1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
December 6, 2017, I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that
the following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated
below:



                                                                                          Service information continued on attached page


2. SERVED BY UNITED STATES MAIL:
On December 6, 2017, I served the following persons and/or entities at the last known addresses in this bankruptcy case
or adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail, first
class, postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing to the judge
will be completed no later than 24 hours after the document is filed.



                                                                                          Service information continued on attached page


3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date) December 6, 2017, I served
the following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to
such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration
that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is
filed.

VIA FEDEX
The Honorable Peter H. Carroll
United States Bankruptcy Court
Central District of California
1415 State Street, Suite 230 / Ctrm. 201
Santa Barbara, CA 93101
                                                                                          Service information continued on attached page


I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

 December 6, 2017                     Mary de Leon                                            /s/ Mary de Leon
 Date                                  Printed Name                                           Signature




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June 2012                                                                                         F 9013-3.1.PROOF.SERVICE
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    Mailing Information for Case 9:16-bk-11912-PC Page 54 of 56
    1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF):

           Leslie A Cohen leslie@lesliecohenlaw.com, jaime@lesliecohenlaw.com;allie@lesliecohenlaw.com
           Daniel Denny ddenny@gibsondunn.com
           Brian D Fittipaldi brian.fittipaldi@usdoj.gov
           Michael S Greger mgreger@allenmatkins.com
           William W Huckins whuckins@allenmatkins.com, clynch@allenmatkins.com
           Elan S Levey elan.levey@usdoj.gov, louisa.lin@usdoj.gov
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           Samuel A Newman snewman@gibsondunn.com
           Victoria Newmark vnewmark@pszjlaw.com
           Reed H Olmstead reed@olmstead.law, olmstead.ecf@gmail.com;r41602@notify.bestcase.com
           Robert E Opera ropera@wcghlaw.com, pj@wcghlaw.com;sly@wcghlaw.com
           United States Trustee (ND) ustpregion16.nd.ecf@usdoj.gov
           Alan J Watson alan.watson@hklaw.com, gloria.hoshiko@hklaw.com

    2. SERVED BY UNITED STATES MAIL:

                                                      Debtor
  Channel Technologies Group, LLC                     Channel Technologies Group, LLC
  Ch 11 Case No.: 9:16-bk-11912-PC                    Attn: David Tiffany
          2002 Service List                                  Chief Restructuring Officer
                                                      8714 East Sandalwood Drive
                                                      Scottsdale, AZ 85250

Brian Fittipaldi, Esq.                                                                                     Charles Miller, Member
                                                      United States Trustee
Office of the U.S. Trustee                                                                                 5916 Carnegie Lane
                                                      915 Wilshire Blvd., Suite 1850
1415 State Street, Suite 148                                                                               Plano, Texas 75093
                                                      Los Angeles, CA 90017
Santa Barbara, CA 93101

                                                                                                           Bank
CR3 Partners
                                                      Claims Agent                                         CIT/One West
Attn: William Snyder; David Tiffany;
                                                      Prime Clerk                                          Gordon Lenarth, Director
     Robert Carringer; Michael Nguyen
                                                      Attn: Michael J. Frishberg                           Treasury Management Group
13355 Noel Road
                                                      830 3rd Avenue                                       888 East Walnut Street
Suite 310, Tower 1
                                                      New York, NY 10022                                   Pasadena, CA 91101
Dallas, TX 75240
                                                                                                           Email: gordon.lenarth@cit.com

                                                                Government Entities

                                                                                                           Eileen M. Decker, U.S. Attorney
Jeff Sessions                                                                                              Dorothy A. Schouten, AUSA, Civil Chief
                                                      U.S. Dept. of Justice
U.S. Attorney General                                                                                      Elan S. Levey, AUSA
                                                      Ben Franklin Station
U.S. Dept. of Justice                                                                                      United States Attorney’s Office
                                                      P.O. Box 683
950 Pennsylvania Avenue NW                                                                                 Federal Building, Room 7516
                                                      Washington, DC 20044
Washington, D.C. 20530-0001                                                                                300 North Los Angeles Street
                                                                                                           Los Angeles, CA 90012
Xavier Becerra
                                                      Lisa Chao, Supervising Deputy AG                     DFAS
State of California
                                                      Brian D. Wesley, Deputy AG                           Attn: Office of the General Counsel
Office of the Attorney General
                                                      300 South Spring Street, Suite 1702                  8899 East 56th Street
1300 “I” Street
                                                      Los Angeles, CA 90013                                Indianapolis, IN 46349-0160
Sacramento, CA 95814-2919


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                                                                                                           CA Franchise Tax Board
Internal Revenue Service                              Internal Revenue Service
                                                                                                           BK Section, MS: A-340
P.O. Box 7346                                         1332 Anacapa St.
                                                                                                           P.O. Box 2952
Philadelphia, PA 19101-7346                           Santa Barbara, CA 93101
                                                                                                           Sacramento, CA 95812-2952

Littleton Massachusetts Chief Assessor                Littleton Massachusetts Tax Collector
                                                                                                           CA Franchise Tax Board
Attn: Katherine Miller                                Attn: Deborah Richards
                                                                                                           P.O. Box 942857
37 Shattuck Street, Room 206                          37 Shattuck Street, Room 207
                                                                                                           Sacramento, CA 95812-2952
Littleton, MA 01460                                   Littleton, MA 01460

Santa Barbara County Tax Collector                    Employment Development Dept.                         State Board of Equalization
Attn: Harry E. Hagen                                  Bankruptcy Group MIC 92E                             Special Operations BK Team, MIC: 74
105 East Anapamu Street, Suite 109                    P.O. Box 826880                                      P.O. Box 942879
Santa Barbara, CA 93102                               Sacramento, CA 94280-0001                            Sacramento, CA 94279-0074

                                                                                                           U.S. Securities & Exchange Commission
Massachusetts Dept. of Revenue                        Massachusetts Dept. of Revenue
                                                                                                           Attn: Bankruptcy Counsel
P.O. Box 9550                                         P.O. Box 7010
                                                                                                           444 South Flower Street, Suite 900
Boston, MA 02114-9550                                 Boston, MA 02204
                                                                                                           Los Angeles, CA 90071

                                                            CREDITORS’ COMMITTEE

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Committee of Unsecured Creditors
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                                                      Hogan Lovells US LLP                                 Marion, MA 02738
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Newport Beach, CA 92660

Lockheed Martin Corporation
Rotary and Mission Systems                            Advanced GeoEnvironmental, Inc.
9500 Godwin Drive                                     837 Shaw Road
Manassas, VA 20110                                    Stockton, CA 95215
Attn: John Mellis, Esq.

                                                                  Secured Creditors

                                                      Prepetition Secured Creditor/DIP
Counsel to Blue Wolf Capital Fund II, L.P.
                                                      Lender
John J. Monaghan
                                                      Blue Wolf Capital Partners
Holland & Knight, LLP
                                                      Attn: President
10 St. James Avenue, 11th Floor
                                                      One Liberty Plaza, 52nd Floor
Boston, MA 02116
                                                      New York, NY 10006

                                                                  Interested Parties

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7225 Langtry Street                                                                                        1521 West Branch Drive, Suite 200
                                                      1603 Orrington Avenue, Suite 1005
Houston, TX 77040                                                                                          McLean, VA 22102
                                                      Evanston, IL 60201

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Christopher M. Candon                                  Government Services Group
Sheehan Phinney Bass & Green                          A Div. of Wells Fargo Bank, N.A.
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Manchester, NH 03101                                  McLean, VA 22102

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                                                     Counsel for Attorneys for Creditor
Counsel for Northrop Grumman Corp.                   BAE Systems Information and Electric
                                                     Systems Integration, Inc.                             Brent A. Lindstrom
Samuel A. Newman
                                                     Robert R. Moore                                       Electro Optical Industries
Daniel B. Denny
                                                     Michael S. Greger/William W. Huckins                  Sales Director
Gibson, Dunn & Crutcher LLP
                                                     Allen Matkins                                         410 Canon Drive
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                                                     Three Embarcadero Center, 12th Fl.                    Santa Barbara, CA 93105
Los Angeles, CA 90071-3197
                                                     San Francisco, CA 94111

Counsel to Blue Wolf Capital Fund II,
                                                     Counsel for Landlord
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Alan J. Watson
                                                     Seed Mackall LLP                                      Post Office Box 1080
Holland & Knight LLP
                                                     1332 Anacapa St., Suite 200                           Carpinteria, CA 93014
400 South Hope Street, 8th Floor
                                                     Santa Barbara, CA 93101
Los Angeles, CA 90071-2040

Water Store                                          CEC, Inc.
94 Frederick Lopez                                   Post Office Box 23245
Goleta, CA 93117                                     Santa Barbara, CA 93121
Attn: William Risser, President                      Attn: Jason Carlton, President




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